Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 1 of 488 Pageid#:
                                   3534




            EXHIBIT 8
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 2 of 488 Pageid#:
                                   3535



                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                         Charlottesville Division


  CFA INSTITUTE,

        Plaintiff,

  v.

  AMERICAN SOCIETY OF PENSION
  PROFESSIONALS & ACTUARIES;
  AMERICAN SOCIETY OF PENSION                       CIVIL ACTION NO.
  PROFESSIONALS & ACTUARIES,                      3:19-cv-00012-NKM-RSB
  D/B/A NATIONAL ASSOCIATION
  OF PLAN ADVISORS; and
  AMERICAN SOCIETY OF PENSION
  PROFESSIONALS & ACTUARIES,
  D/B/A AMERICAN RETIREMENT
  ASSOCIATION,

        Defendants.


                      EXPERT REPORT OF RANY SIMMS

  INTRODUCTION

         1.     I have been retained by Finnegan, Henderson, Farabow, Garrett &
  Dunner LLP on behalf of Defendants (collectively, the American Retirement
  Association or ARA, hereafter “ARA”) to provide my opinions with respect to
  certain practice and procedures before the United States Patent and Trademark
  Office (USPTO or PTO) in the above-identified case. For decades, I was an
  Administrative Trademark Judge with the Trademark Trial and Appeal Board
  (TTAB) of the USPTO, having retired in 2004. Before that, I worked as an
  Interlocutory Attorney before the TTAB and as a USPTO Examining Attorney.
  Since retirement from the federal government, I have worked as a consultant in a
  number of trademark cases. My curriculum vitae is attached as Exhibit 1.
                                            1
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 3 of 488 Pageid#:
                                   3536



  SUMMARY

         2.    The ultimate issue in this case is one of likelihood of confusion
  between Plaintiff’s pleaded marks and ARA’s mark. I will discuss the fact that the
  USPTO—the specialized administrative body charged by Congress with making
  likelihood-of-confusion determinations—did not cite any of Plaintiff’s marks (or
  any other mark) as a basis for refusing ARA’s mark. I will also discuss the practice
  and procedure that the USPTO employs when examining applications seeking to
  federally register trademarks, like the application for ARA’s mark.

         3.     When examining a trademark application and determining whether
  there is a likelihood of confusion with prior issued registrations and prior filed
  applications, USPTO practice and procedure requires the consideration of multiple
  factors, including the similarities/differences between the applied-for mark and the
  marks in prior applications/registrations, the similarities/differences between the
  identified services, the sophistication of the relevant purchasers of those services,
  and the nature and existence of similar third-party marks for related services. In
  that regard, I will discuss the significance of some of the statements Plaintiff has
  made to the USPTO about various third-party marks and registrations, which are
  consistent with admissions the Plaintiff has made in this case.

          4.   The documents and materials I have reviewed for this Report are
  listed in Exhibit 2.

  QUALIFICATIONS

        5.     I began my career at the USPTO as a Trademark Examining Attorney
  from 1972-1975. From 1975 to 1980, I was an Interlocutory Attorney (mainly
  responsible for handling motions) with the TTAB. From 1980-1981, I was an
  Acting Member of the TTAB before becoming an Administrative Trademark
  Judge. This position was formerly called “Member.” I was an Administrative
  Trademark Judge with the TTAB from 1981 to 2004.

        6.     As an Administrative Trademark Judge, sitting in panels of three
  judges, I wrote hundreds of trademark decisions in appeals from refusals to register
  trademarks (and service marks), in opposition proceedings brought against
  applications to register trademarks (and service marks), and in cancellation
  proceedings seeking to cancel registrations of trademarks (and service marks).
  Many of these decisions were published in USPQ (United States Patent Quarterly)
                                            2
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 4 of 488 Pageid#:
                                   3537



  and are available on the LEXIS database, and were also posted on the USPTO
  website and available at TTABVUE. In addition, I have written a number of
  articles for the Trademark Reporter (none in the last ten years) and have spoken on
  a number of occasions to various groups about practice and procedure before the
  TTAB. I retired from the Office in 2004. Since retirement I have been an expert
  witness in a number of trademark cases, and have given depositions in seven of
  them. Such cases from the last four years are listed in Exhibit 1.

  COMPENSATION

         7.     I am being compensated at the hourly rate of $550 for the time spent
  for research, writing this report and, if necessary, giving depositions and testifying
  in this case. This is my standard rate of compensation for trademark consultation.

  DISCUSSION

  I.    Trademark Office Examination Practice and Procedure

         8.     After an application is filed in the USPTO, assuming that the
  applicant has met the initial filing requirements, the application is assigned to an
  Examining Attorney for examination. USPTO Examining Attorneys are practicing
  lawyers who are specially trained and responsible for determining whether a
  trademark is entitled to the benefits of federal registration. When examining a
  trademark application, the Examining Attorney reviews the records of the USPTO
  for conflicting marks—identified in earlier issued registrations or prior-filed
  applications—under Section 2(d) of the Trademark Act, 15 USC §1052(d). The
  Examining Attorney also considers other substantive grounds for refusal under
  other sections of the Act. If the Examining Attorney finds no substantive or other
  reason for refusing the application, the Examining Attorney will approve the mark
  for publication in the Official Gazette, a weekly publication of the USPTO, for
  potential opposition by others.

         9.     If the Examining Attorney does refuse registration on some
  substantive or other ground, he or she will issue what is called an Office Action
  setting forth the reason(s) for refusal, usually with supporting material or evidence.
  The applicant then has six (6) months to respond to the Office Action with
  arguments and/or evidence showing why the mark should not be refused
  registration. If there is no response within 6 months of the mailing date of the
  Office Action, the application is abandoned.
                                            3
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 5 of 488 Pageid#:
                                   3538



         10. If the applicant responds and the response is deemed persuasive, the
  Examining Attorney will then approve the mark for publication. If, however, the
  Examining Attorney is not persuaded by the response, the Examining Attorney will
  issue a second Office Action setting forth the reasons(s) for continued refusal,
  sometimes with additional evidence. Again, an applicant has six (6) months to
  respond to this refusal in order to avoid abandonment of the application. The
  applicant may request reconsideration of the second refusal and/or appeal the
  refusal to the TTAB.

         11. If the mark is published, any person or entity who believes it may be
  damaged by the registration may file an opposition to registration of the mark
  within thirty (30) days. That period may be extended by request. If the application
  is not opposed, then the mark will be registered. However, if an opposition (which
  is similar to a complaint in federal court) is filed, the matter is transferred to the
  TTAB—an administrative tribunal of the USPTO—for an administrative trial.
  After the applicant is given time to file an answer, the case proceeds to discovery,
  followed by trial. Also, after a mark is registered, an interested party has five years
  from the date of registration to seek cancellation of the registration on all of the
  grounds that are available to an opposer. After five years, the grounds for
  cancellation are more limited. See Section 14 (3) of the Lanham Act, 15 USC
  §1064 (3).

  II.   ARA’s Application

        12. ARA filed application Serial No. 87103390 on July 14, 2016 for the
  following:




  for “developing and administering standards and procedures for certifying
  professionals in the field of advising clients and professionals with respect to
  retirement plan investments” and “educational services, namely, providing
  seminars and training for professionals in the field of financial planning and
  retirement.” ARA disclaimed the exclusive right to use the words “CERTIFIED
  PLAN FIDUCIARY ADVISER” apart from the mark as shown.

                                             4
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 6 of 488 Pageid#:
                                   3539



         13. It is not uncommon for applicants to initially file applications with
  broad descriptions and, if needed, to narrow the descriptions during the course of
  prosecution. If applications are opposed based on a likelihood of confusion,
  USPTO procedure permits applicants to narrow the description of services by
  asserting affirmative defenses that no likelihood of confusion exists with the
  narrower description.

         14. A review of ARA’s application file history shows that when the
  Examining Attorney conducted a search of the USPTO database for potentially
  conflicting prior registrations and applications, he used the terms “*napa*” and
  “*cpfa*,” which would retrieve all marks containing the letters “NAPA” or
  “CPFA.” Because ARA’s mark has a number of elements (the letters “NAPA” and
  “CPFA,” the words “Certified Plan Fiduciary Adviser,” and design elements), that
  search strategy would be reasonable to retrieve all relevant previously registered
  and applied-for marks. As per USPTO practice and procedure, the Examining
  Attorney then issued an Office Action on October 29, 2016 indicating that he had
  searched the Office database of registered and pending marks but found no
  conflicting marks that would bar registration of ARA’s trademark application
  based on a likelihood of confusion. A copy of this Office Action is attached as
  Exhibit 3. The application was subsequently approved for publication and
  published for opposition.

  III.   Plaintiff’s Pleaded Registrations

        15.    In its Complaint, Plaintiff has pleaded a number of registrations,
  including:

            • C.F.A. for “association services—namely, the promotion of interest
              and professional standards in the field of financial analysts” (Reg. No.
              935,504, issued June 6, 1972, renewed);

            • CFA for “educational services, namely arranging, conducting and
              providing courses of instruction, workshops, seminars and
              conferences in the field of financial analysis and distributing course
              materials in connection therewith” (Reg. No. 2493899, issued Oct. 2,
              2001, renewed);



                                             5
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 7 of 488 Pageid#:
                                   3540



          • CFA for “printed publications in the field of financial analysis and in
            support of the interests of financial analysts” (Reg. No. 2495459,
            issued Oct. 9, 2001, renewed);

          •




              as a certification mark for “financial analysis services” (Reg. No.
              2661114, issued Dec. 17, 2002, renewed);

          • CFA INSTITUTE (“INSTITUTE” disclaimed) for various printed
            publications in the fields of investment management and financial
            analysis, association services and educational services (Reg. No.
            3202615, issued Jan. 23, 2007, renewed);

          •




              (“Institute” disclaimed) for various printed publications in the fields
              of investment management and financial analysis, association services
              and educational services (Reg. No. 4296372, issued Feb. 26, 2013,
              combined Secs. 8 and 15 declaration accepted and acknowledged);

          • CFA INSTITUTE (“INSTITUTE” disclaimed) for various
            downloadable publications and video and audio content in the fields
            of investment management and financial analysis (Reg. No. 4389314,
            issued Aug. 20, 2013, combined Secs. 8 and 15 accepted and
            acknowledged); and


                                          6
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 8 of 488 Pageid#:
                                   3541



            • CFA INSTITUTE (“INSTITUTE” disclaimed) for carry all bags, tote
              bags and leather goods, various items of apparel, and online retail
              store services (Reg. No. 4768863, issued July 7, 2015).

       In that Complaint, Plaintiff alleges that ARA’s mark so resembles Plaintiff’s
  marks as to be likely to cause confusion.

  IV.    Third-party Registrations

         16. Under USPTO practice and procedure, the USPTO is required to
  assess whether there’s a likelihood of confusion based on certain factors laid out by
  the TTAB’s primary reviewing court, the U.S. Court of Appeals for the Federal
  Circuit. Specifically, in In re E. I. du Pont de Nemours & Co., 476 F.2d 1357, 177
  USPQ 563 (CCPA 1973), the Court of Customs and Patent Appeals, the
  predecessor court of the U.S. Court of Appeals for the Federal Circuit, listed
  thirteen factors that may be relevant to a determination of the issue of likelihood of
  confusion. Not all of the factors may be relevant in any particular case, and only
  those factors which are significant to a determination need to be considered. In re
  Mighty Leaf Tea, 601 F.3d 1342, 1346, 94 USPQ2d 1257, 1259 (Fed. Cir. 2010).
  Because the determination of likelihood of confusion is not made in a vacuum, one
  of the important factors in any likelihood-of-confusion analysis is the number and
  nature of similar third-party marks.

        17. From my review of the documents I have seen in this case and my
  own review of USPTO records, there are a number of third parties that have
  obtained registrations for marks containing the letters “C,” “F” and/or “A” in the
  business or financial services field, including:

          Mark                  Reg. No.                    Goods/Services
   CFC                    1217001, issued       Personal and corporate financial
                          Nov. 16, 1982         planning and consulting services
   (Exhibit 4)            (renewed)
   CFE                    1714241, issued       Educational services for persons
                          Sept. 8, 1992         employed or engaged on behalf of
   (Exhibit 5)            (renewed)             government regulatory authorities in the
                                                financial examination of banks and other
                                                financial institutions, association
                                                services for promoting the interests of
                                                financial examiners

                                            7
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 9 of 488 Pageid#:
                                   3542



         Mark                Reg. No.                     Goods/Services
  CFF                  3920131, issued        Forensic accounting services
                       Feb. 15, 2011 (Secs.
  (Exhibit 6)          8 and 15)
  CFP (with and        1843933, issued        Financial planning services
  without design)      July 5, 1994
                       (renewed);
  (Exhibit 7)          2539790, issued
                       Feb. 19, 2002
                       (renewed);
                       4889637, issued
                       Jan. 19, 2016;
                       4889638, issued
                       Jan. 19, 2016
  CFX                  2639605, issued        Financial services of providing analysis
                       Oct. 22, 2002          of mortgage portfolios to develop
  (Exhibit 8)          (renewed)              financial strategies, structure individual
                                              debt transactions, optimize mortgage
                                              financing for customers, rate debt and
                                              support marketing securities to investors
  CMA                  2066333, issued        Preparing, administering and scoring of
                       June 3, 1997           standardized tests in the field of
  (Exhibit 9)          (renewed)              financial management
  CDFA                 4771896, issued        Analysis and consulting services and
                       July 14, 2015          strategic litigation support services in
  (Exhibit 10)                                the field of divorce and pertaining to tax
                                              and economic impact of divorce
                                              settlement strategies
  CHFC                 1620482, issued        Educational services of conducting
                       Oct. 30, 1990          courses in the field of financial planning
  (Exhibit 11)         (renewed)
  CMFC                 2045094, issued        Educational services of conducting
                       March 11, 1997         courses of instruction in the field of
  (Exhibit 12)         (renewed)              finance
  CPFC                 3239659, issued        Educational services of providing
                       May 8, 2007            classes, seminars and workshops in the
  (Exhibit 13)         (renewed)              field of finance
  CPWA                 3686580, issued        Financial services of financial
                       Sept. 22, 2009         consultation and financial portfolio
  (Exhibit 14)         (renewed)              management

                                         8
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 10 of 488 Pageid#:
                                    3543



          Mark              Reg. No.                       Goods/Services
   CTFA                3928589, issued        Financial services
                       March 8, 2011
   (Exhibit 15)
   CRFA CERTIFIED      3418204 issued         Educational services—offering
   RETIREMENT          April 29, 2008         programs and courses of study for
   FINANCIAL           (cancelled under       financial professionals in the field of
   ADVISOR (and        Sec. 8)                finances for retirees
   design)

   (Exhibit 16)
   CSFP CHARTERED      3069136, issued        Educational services for insurance
   SENIOR              March 14, 2006         professionals and financial consultants
   FINANCIAL           (renewed)              concerning products and services
   PLANNER                                    available to senior citizens in fields of
                                              financial planning, retirement, medical
   (Exhibit 17)                               and long term care, saving and investing
   CKA                 5233036, issued        Providing financial advice and wealth
                       June 27, 2017          management services
   (Exhibit 18)
   CBA                 4917715, issued        Business management, strategic and
                       March 15, 2016         technology planning services and
   (Exhibit 19)                               development of process for the analysis
                                              and the implementation of strategy plans
                                              and management projects
   CVM                 4594650, issued        Business consulting services, namely,
                       Aug. 26, 2014          pricing and value strategy consulting in
   (Exhibit 20)                               the field of customer value modeling
   CMB                 4072971, issued        Mortgage banking services
                       Dec. 20, 2011
   (Exhibit 21)        (Secs. 8 and 15)
   CMC                 3000324, issued        Mortgage brokerage services
                       Sept. 27, 2005
   (Exhibit 22)        (renewed)
   CBV                 6007628, issued        Business and securities valuations
                       March 10, 2020
   (Exhibit 23)
   CBE                 4803634, issued        Educational services, namely, arranging,
                       Sept. 1, 2015          developing, conducting and providing
   (Exhibit 24)                               courses of instruction, workshops,
                                              seminars, and conferences and
                                          9
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 11 of 488 Pageid#:
                                    3544



          Mark              Reg. No.                        Goods/Services
                                              developing educational manuals for
                                              others in the fields of business
                                              economics, applied econometrics, data
                                              analytics and communication skills, and
                                              distributing course materials, practice
                                              examinations, practice examination
                                              answer keys, examinations in connection
                                              therewith
   CSQ                 4859773, issued        Arranging and conducting business
                       Nov. 24, 2015          seminars in the field of business and
   (Exhibit 25)                               finance; Arranging and conducting
                                              educational conferences; Educational
                                              services, namely, conducting seminars,
                                              conferences and workshops in the field
                                              of business and finance; Educational
                                              services, namely, conducting seminars,
                                              conferences and workshops in the field
                                              of business and finance; Educational
                                              services, namely, conducting seminars,
                                              conferences and workshops in the field
                                              of business and finance and publishing
                                              and distributing educational materials in
                                              connection therewith; Educational
                                              services, namely, developing, arranging,
                                              and conducting educational conferences
                                              and programs and providing courses of
                                              instruction in the field of business and
                                              finance; Providing a web site featuring
                                              non-downloadable instructional videos
                                              in the field of finance
   CRI                 4954049, issued        Real estate investment services
                       May 10, 2016
   (Exhibit 26)
   CRE CERTIFIED       3459439, issued        Teaching financial retirement education
   RETIREMENT          July 1, 2008           programs by a standard of practice when
   EDUCATOR            (renewed)              delivering the instruction, through both
                                              practice and presentation materials.
   (Exhibit 27)



                                         10
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 12 of 488 Pageid#:
                                    3545



         Mark               Reg. No.                        Goods/Services
   CFL CERTIFIED       3970928, issued        Creating and providing educational
   FINANCIALLY         May 31, 2011 (Sec.     materials and programs, namely,
   LITERATE            8)                     developing and conducting training
                                              courses and distribution of training
   (Exhibit 28)                               materials in connection therewith, in the
                                              field of finance to promote financial
                                              knowledge and skills among young
                                              people or adults with limited financial
                                              knowledge; development of educational
                                              standardized assessment tests to measure
                                              financial knowledge skills among young
                                              people or adults with limited financial
                                              knowledge; preparing, administering,
                                              and scoring standardized tests; offering
                                              programs, namely, classes and
                                              workshops in the field of financial
                                              education for students with limited
                                              financial knowledge and their teachers
                                              in urban and suburban environments;
                                              educational consulting regarding
                                              educational courses pertaining to
                                              financial education for students with
                                              limited financial knowledge and their
                                              teachers in urban and suburban
                                              environments; creating financial
                                              seminars for others, namely, career
                                              opportunity seminars for young people
                                              or adults with limited financial
                                              knowledge.
   CERTIFIED           2516243, issued        Certifying that business professionals
   SENIOR ADVISOR      Dec. 11, 2001          specializing in senior advisory capacities
   (CSA)               (renewed)              have met certain qualifications and have
                                              been certified to assist senior citizens
   (Exhibit 29)                               regarding financial, medical and social
                                              issues
   CERTIFIED           4509566, issued        Association services, namely, the
   BUSINESS ANGEL      April 8, 2014          promotion of professional standards and
   (CBA)                                      practices in the fields of investment
                                              management and business advisory;
   (Exhibit 30)
                                         11
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 13 of 488 Pageid#:
                                    3546



          Mark              Reg. No.                      Goods/Services
                                              promoting the interests of business
                                              angels.

                                              Educational services, namely,
                                              developing, arranging, conducting and
                                              providing courses of instructions,
                                              examinations, testings, workshops,
                                              seminars, and conferences in the field of
                                              investment management and business
                                              advisory and distributing course
                                              materials in connection herewith.
   CERTIFIED           3199885, issued        Certification for professionals that meet
   PROFESSIONAL        Jan. 16, 2007          certain qualifications and pass specific
   FORECASTER          (renewed)              examinations in the field of business
   (CPF)                                      forecasting

   (Exhibit 31)
   CTP CERTIFIED       3016770, issued        Educational services, namely, providing
   TREASURY            Nov. 22, 2005          professional level courses of instruction
   PROFESSIONAL        (renewed)              on treasury management and finance;
                                              education and testing services, namely,
   (Exhibit 32)                               developing, constructing, and
                                              administering tests and a testing and
                                              credentialing program in the field of
                                              treasury management and finance
   CERTIFIED       5137570, issued            Educational services, namely, providing
   MORTGAGE        Feb. 7, 2017               training of mortgage processors for
   PROCESSOR (CMP)                            certification in the field of mortgage
                                              processing
   (Exhibit 33)
   CNC CERTIFIED       4067860, issued        Business consultation services to assist
   NONPROFIT           Dec. 6, 2011 (Secs.    non-profit organizations in planning,
   CONSULTANT          8 and 15)              managing, and conducting fund raising
                                              activities via a global computer network;
   (Exhibit 34)                               business support services, namely,
                                              business consulting to freelancers, start-
                                              ups, existing businesses and non-profit
                                              organizations



                                         12
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 14 of 488 Pageid#:
                                    3547



         Mark                  Reg. No.                    Goods/Services
   CERTIFIED TAX         4028064, issued       Tax advising and tax preparation
   COACH CTC             Sept. 20, 2011        services

   (Exhibit 35)
   CERTIFIED             5837451, issued       Educational services, namely, providing
   MONEY COACH           Aug. 20, 2019         proprietary programs and courses of
   (CMC)                                       study, specifically money and business
                                               coaching certification training programs
   (Exhibit 36)                                for professionals in the fields of personal
                                               finance, behavioral sciences, and
                                               personal/life/executive coaching, and
                                               human potential and development

         18. As mentioned above, the Examining Attorney for ARA’s application
  issued an Office Action on October 29, 2016. With the exception of two
  registrations (Registration Nos. 5837451 and 6007628), registrations for the above
  marks had issued or applications for the marks had been filed before October 29,
  2016. The Examining Attorney handling ARA’s application did not cite any of
  those registrations or applications as confusingly similar to ARA’s mark, and
  allowed ARA’s application to register.

         19. Similarly, the USPTO uniformly did not refuse any of the above
  registrations on the ground that they are confusingly similar to any prior
  registrations or applications (including any of the prior marks owned by the
  Plaintiff). In other words, under USPTO practice and procedure, multiple
  Examining Attorneys did not consider marks that differed by only one letter from
  the Plaintiff’s registered CFA marks to be conflicting or likely to cause confusion.
  Plaintiff also did not oppose any of the above applications.

         20. The coexistence of these marks on the federal trademark register also
  indicates that during prosecution of those registrations, the USPTO did not find
  that any of these numerous registrations conflicted with one another in terms of a
  likelihood of confusion.

  V.    Section 18 Request to Restrict/Narrow Existing Identifications of
        Goods and Services of Registrations to Reflect Marketplace Use

         21. Under USPTO practice and procedure, if a trademark owner believes
  that the identification of goods or services in an existing registration is broader
                                            13
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 15 of 488 Pageid#:
                                    3548



  than the goods or services for which the mark is actually being used and it believes
  that it is being harmed by the overly broad coverage of such registration, the
  trademark owner is entitled to file an action under Section 18 of the Trademark Act
  (15 U.S.C. § 1068) to restrict the identification of goods and services to reflect the
  mark’s actual use.

         22. Here, if Plaintiff believed that the identification of services for any of
  the above registrations was broader than the services for which the mark was
  actually being used, and that its trademark rights were being harmed by such
  coverage, Plaintiff had the opportunity to file an action under Section 18 to restrict
  or narrow such identification to reflect the mark’s actual use. In reviewing the
  TTABVUE records for each of the above registrations, Plaintiff did not take any
  actions to restrict any of the above registrations under Section 18 of the Trademark
  Act.

  VI.   Plaintiff’s Prior Statements

         23. Under USPTO practice and procedure, prior statements made by an
  applicant or a registrant may be considered, along with other evidence, when
  assessing a likelihood of confusion. See Interstate Brands Corp. vs. Celestial
  Seasoning, Inc., 576 F.2d 926, 198 USPQ 151, 153-54 (CCPA 1978) (“That a
  party earlier indicated a contrary opinion respecting the conclusion in a similar
  proceeding involving similar marks and goods is a fact, and that fact may be
  received in evidence as merely illuminative of shade and tone in the total picture
  confronting the decision maker. To that limited extent, a party’s earlier contrary
  opinion may be considered relevant and competent. Under no circumstances, may
  a party’s opinion, earlier or current, relieve the decision maker of the burden of
  reaching his own ultimate conclusion on the entire record.”).

         24. Nearly 20 years ago, Plaintiff sought registration of one of its now-
  registered CFA marks. Initially, the Examining Attorney refused registration of the
  applied-for CFA mark on grounds of mere descriptiveness. The Examining
  Attorney reasoned that the mark CHARTERED FINANCIAL ANALYST
  describes a special type of financial analyst who has been “chartered” by Plaintiff.
  In the Office Action Response that Plaintiff submitted arguing against this refusal,
  Plaintiff pointed to other third-party registered marks in the financial services field:

        There are numerous registered marks that are acronyms of
        professional designations in the financial industry, including [a
                                            14
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 16 of 488 Pageid#:
                                    3549



        table listing CFP and CHFC and others]...A comparison of
        Applicant’s mark [CFA] with the registered marks listed in the
        table (which are all used in connection with similar services)
        shows that all of the marks are acronyms for professional
        designations offered by the owners of the respective marks to
        persons in the financial industry who have met the educational,
        professional and ethical requirements and standards of the
        owners. Applicant respectfully submits that it would be
        arbitrary to allow the existence of the registered mark and not
        permit registration of Applicant’s mark...

        …In fact, there are over 31,000 CFA Charterholders
        worldwide, all having completed Applicant’s CHARTERED
        FINANCIAL ANALYST (C.F.A.) program. Their use of the
        CFA designation is virtually the same use made by the holders
        of the designation CFP, CLU or CHFC...
        ...[T]he PTO has registered marks owned by other associations
        offering programs for professional recognition in the financial
        industry, such as CFP, CLU and CHFC. It would be arbitrary
        for the PTO to register those marks and not permit registration
        of Applicant’s mark...

  Plaintiff’s Response to Office Action, pp. 2-4, filed Aug. 31, 2000, Serial No.
  75788563 (maturing into Reg. No. 2493899, issued Oct. 2, 2001). Plaintiff’s
  application was subsequently approved for registration. A copy of this Office
  Action response is attached as Exhibit 37.
         25. In 2012, Plaintiff initiated an opposition proceeding against the mark
  CDFA (Certified Divorce Financial Analyst). In 2013, the Applicant moved for
  summary judgment, and argued that confusion between the CFA and CDFA marks
  was unlikely in part because of the dozens of registrations and widespread uses of
  similar marks by third parties. In support, the Applicant submitted a list of 73
  third-party trademark registrations of similar marks. In its Opposition to
  Applicant’s Motion for Summary Judgment, Plaintiff stated that certain third-party
  registrations included in that list were “easily distinguishable” from the CFA
  trademark “based on the marks and/or the goods and services.” Those registrations
  covered the following marks: CFA, CFC, CFE, CFH, CFM, CFP, CFS, CFX, CLF,
  CMA, and CTFA. See Opposer’s Memorandum in Opposition to Applicant’s

                                           15
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 17 of 488 Pageid#:
                                    3550



  Motion for Summary Judgment, filed Oct. 21, 2013, p. 14, in Opposition Nos.
  91204476 and 91210145. Plaintiff’s apparent position that even a one-letter
  difference between marks can be sufficient to distinguish them is apparently
  consistent with the USPTO position noted above. A copy of the Plaintiff’s
  opposition brief is attached as Exhibit 38.

                                          Respectfully submitted,

  Date March 17, 2020
                                          Rany Simms




                                         16
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 18 of 488 Pageid#:
                                    3551




                         EXHIBIT 1




                                      17
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 19 of 488 Pageid#:
                                    3552



                              Résumé of Rany Simms

  Former Administrative Trademark Judge, Trademark Trial and Appeal Board
  (TTAB) of the U.S. Patent and Trademark Office (USPTO), located in Alexandria,
  Va.

  EDUCATION

  B.A. degree from the University of Illinois, Champaign-Urbana, Illinois, in 1969

  J.D. degree from the University of Illinois College of Law in 1972
  WORK EXPERIENCE

  Trademark Examining Attorney with the USPTO from 1972-1975
  Interlocutory (Motions) Attorney with the TTAB from 1975-1980

  Acting Member of the TTAB from 1980-1981
  Administrative Trademark Judge (formerly called Member) of the TTAB from
  1981 until 2004
         As an Administrative Trademark Judge, sitting in panels of three judges, I
  wrote hundreds of decisions over the years in appeals from refusals to register
  trademarks (and service marks), in opposition proceedings brought against
  applications to register trademarks (and service marks), and in cancellation
  proceedings seeking to cancel registrations of trademarks (and service marks).
  Many of these decisions were published in USPQ (United States Patents Quarterly)
  and are available on the LEXIS database. In addition, I have written numerous
  articles for the Trademark Reporter (published by the International Trademark
  Association), all under the heading TIPS FROM THE TTAB, including “Whether
  and When to File Papers During Trademark Proceedings,” 67 TMR 175 (March-
  April 1977), “The Concurrent User as Opposer,” 67 TMR 654 (Nov.–Dec. 1977),
  “Some Interlocutory Hints,” 70 TMR 148 (March–April 1980), “Stipulated
  Protective Agreements,” 71 TMR 653 (Nov.-Dec. 1981), “Compelling the
  Attendance of a Witness in Proceedings before the Board,” 75 TMR 296 (May–
  June 1985), and have spoken on a number of occasions to various groups about
  practice and procedure before the Trademark Trial and Appeal Board. I have also
  been sent by the Office to help the Lithuanian and Romanian Patent Offices

                                          18
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 20 of 488 Pageid#:
                                    3553



  develop procedures for the handling of trademark applications. I have also spoken
  at the International Intellectual Property Institute’s Intellectual Property Law
  Workshops held in Ho Chi Minh City and in Hanoi, Vietnam, in 2002, and at a
  similar program held in the Philippines in the same year. I retired from the Office
  in 2004.

  CONSULTING WORK

           Over the last 4 years, I have been hired as an expert witness in the following
  cases:

           The Reinalt Thomas Corp. v. Mavis Tire Supply LLC, Civil Action 1:18-cv-
           05877-TCB (ND Ga.) (declaration discussing trademark examination
           procedure; differences in nature of evidence in ex parte and civil litigation,
           such as consumer survey evidence; discussion of mere descriptiveness and
           genericness refusals; acquired distinctiveness; discussion of disclaimer
           practice and incontestability) (discovery deposition taken)
           Rubik’s Brand Limited v. Flambeau, Inc., Civil Action No. 1:17-cv-6559
           (PGG)(SDNY) (rebuttal report discussion concerning whether applicant
           committed fraud when it did not list requested patent numbers but did
           discuss a foreign patent involved; whether trade dress was functional when
           patent existed covering the inner workings of the device; secondary meaning
           of trade dress) (discovery deposition taken)
           Adidas America, Inc., et al. v. TRB Acquisitions LLC, et al., Civil Action
           No. 3:15-CV-20113-SI (D. Or.) (declaration on the issues of fraud and
           abandonment in connection with a Section 8 declaration of continued use;
           rebuttal report discussing the different types of evidence in ex parte vs. inter
           partes proceedings in likelihood of confusion cases; the availability of civil
           actions in addition to or in place of Office proceedings) (discovery
           deposition taken)

           Edible Arrangements International, LLC et al. v. 1-800-Flowers.com, Inc. et
           al., Civil Action No. 3:14-CV-01744-MPS (D of Conn.) (rebuttal report
           discussing examining attorney refusals of mere descriptiveness and sources
           of support thereof; benefits of registration; disclaimers, and obtaining
           registrations if disclaimed matter becomes distinctive; inability to cancel


                                              19
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 21 of 488 Pageid#:
                                    3554



        Supplemental Register registrations and Principal Register registrations over
        5 years old on basis of mere descriptiveness)




                                          20
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 22 of 488 Pageid#:
                                    3555




                         EXHIBIT 2




                                      21
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 23 of 488 Pageid#:
                                    3556



                                 Documents Reviewed

  1.    Plaintiff’s Complaint
  2.    Defendants’ Answer, Affirmative Defense and Counterclaim
  3.    Defendants’ Application Ser. No. 87103390
  4.    Applicant’s Response, filed Aug. 31, 2000 in Ser. No. 75788563 (maturing
        into Reg. No. 2493899) (CFA)
  5.    Applicant’s Response, filed Sept. 1, 2000 in Ser. No. 75788219 (maturing into
        Reg. No. 2495459) (CFA)
  6.    Office Action issued Jan. 4, 2011 in Ser. No. 85137642 (maturing into Reg.
        No. 4768863) (CFA INSTITUTE)
  7.    Office Action issued Feb. 19, 2014 in Ser. No. 85137642 (maturing into Reg.
        No. 4768863) (CFA INSTITUTE)
  8.    Office Action issued March 12, 2012 in Ser. No. 85478638 (maturing into
        Reg. No. 4296372) (CFA INSTITUTE)
  9.    Office Action issued Aug. 23, 2012 in Ser. No. 85651366 (maturing into Reg.
        No. 4389314) (CFA INSTITUTE)
  10.   Prosecution files for CFC, U.S. Reg. No. 1217001, issued Nov. 16, 1982
  11.   Prosecution files for CFE, U.S. Reg. No. 1714241, issued Sept. 8, 1992
  12.   Prosecution files for CFF, U.S. Reg. No. 1714241, issued Sept. 8, 1992
  13.   Prosecution files for CFP, U.S. Reg. No. 1843933, issued July 5, 1994
  14.   Prosecution files for CFP, U.S. Reg. No. 2539790, issued Feb. 19, 2002
  15.   Prosecution files for CFP, U.S. Reg. No. 4889637, issued Jan. 19, 2016
  16.   Prosecution files for CFP, U.S. Reg. No. 4889638, issued Jan. 19, 2016
  17.   Prosecution files for CFX, U.S. Reg. No. 2639605, issued Oct. 22, 2002
  18.   Prosecution files for CMA, U.S. Reg. No. 2066333, issued June 3, 1997
  19.   Prosecution files for CDFA, U.S. Reg. No. 4771896, issued July 14, 2015
  20.   Prosecution files for CHFC, U.S. Reg. No. 1620482, issued Oct. 30, 1990
  21.   Prosecution files for CMFC, U.S. Reg. No. 2045094, issued March 11, 1997
  22.   Prosecution files for CPFC, U.S. Reg. No. 3239659, issued May 8, 2007
  23.   Prosecution files for CPWA, U.S. Reg. No. 3686580, issued Sept. 22, 2009
  24.   Prosecution files for CTFA, U.S. Reg. No. 3928589, issued March 8, 2011
  25.   Prosecution files for CRFA CERTIFIED RETIREMENT FINANCIAL
        ADVISOR, U.S. Reg. No. 3418204, issued April 29, 2008
  26.   Prosecution files for CSFP CHARTERED SENIOR FINANCIAL
        PLANNER, U.S. Reg. No. 3069136, issued March 14, 2006
  27.   Prosecution files for CKA, U.S. Reg. No. 5233036, issued June 27, 2017
  28.   Prosecution files for CBA, U.S. Reg. No. 4917715, issued March 15, 2016

                                          22
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 24 of 488 Pageid#:
                                    3557



  29.   Prosecution files for CVM, U.S. Reg. No. 4594650, issued Aug. 26, 2014
  30.   Prosecution files for CMB, U.S. Reg. No. 4072971, issued Dec. 20, 2011
  31.   Prosecution files for CMC, U.S. Reg. No. 3000324, issued Sept. 27, 2005
  32.   Prosecution files for CBV, U.S. Reg. No. 6007628, issued March 10, 2020
  33.   Prosecution files for CBE, U.S. Reg. No. 4803634, issued Sept. 1, 2015
  34.   Prosecution files for CSQ, U.S. Reg. No. 4859773, issued Nov. 24, 2015
  35.   Prosecution files for CRI, U.S. Reg. No. 4954049, issued May 10, 2016
  36.   Prosecution files for CRE CERTIFIED RETIREMENT EDUCATOR, U.S.
        Reg. No. 3459439, issued July 1, 2008
  37.   Prosecution files for CFL CERTIFIED FINANCIALLY LITERATE, U.S.
        Reg. No. 3970928, issued May 31, 2011
  38.   Prosecution files for CERTIFIED SENIOR ADVISOR (CSA), U.S. Reg. No.
        2516243, issued Dec. 11, 2001
  39.   Prosecution files for CERTIFIED BUSINESS ANGEL (CBA), U.S. Reg. No.
        4509566, issued April 8, 2014
  40.   Prosecution files for CERTIFIED PROFESSIONAL FORECASTER (CPF),
        U.S. Reg. No. 3199885, issued Jan. 16, 2007
  41.   Prosecution files for CTP CERTIFIED TREASURY PROFESSIONAL, U.S.
        Reg. No. 3016770, issued Nov. 22, 2005
  42.   Prosecution files for CERTIFIED MORTGAGE PROCESSOR (CMP), U.S.
        Reg. No. 5137570, issued Feb. 7, 2017
  43.   Prosecution files for CNC CERTIFIED NONPROFIT CONSULTANT, U.S.
        Reg. No. 4067860, issued Dec. 6, 2011
  44.   Prosecution files for CERTIFIED TAX COACH CTC, U.S. Reg. No.
        4028064, issued Sept. 20, 2011
  45.   Prosecution files for CERTIFIED MONEY COACH (CMC), U.S. Reg. No.
        5837451, issued Aug. 20, 2019
  46.   Opposer’s Memorandum in Opposition to Applicant’s Motion for Summary
        Judgment in Opp. Nos. 91204476 and 91210145 (CFA Institute v. Financial
        Institute Advisors, LLC)
  47.   Plaintiff’s Response in Opposition to Defendants’ Motion to Compel, filed
        Jan. 24, 2020
  48.   Plaintiff’s Responses to Defendants’ Requests for Admission, submitted
        March 2, 2020
  49.   Documents produced by Plaintiff marked as CFA055679-83 and CFA067087-
        93.



                                         23
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 25 of 488 Pageid#:
                                    3558




                     Exhibit
                       3
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 26 of 488 Pageid#:
                                          3559

To:                   American Society of Pension Professional ETC. (docketing@finnegan.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87103390 - NAPA CPFA CERTIFIED PLAN FIDUCIARY -
                      12428.0011
Sent:                 10/29/2016 8:52:46 AM
Sent As:              ECOM111@USPTO.GOV
Attachments:          Attachment - 1
                      Attachment - 2
                      Attachment - 3
                      Attachment - 4
                      Attachment - 5
                      Attachment - 6
                      Attachment - 7
                      Attachment - 8

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION


                      U.S. APPLICATION SERIAL NO. 87103390

                      MARK: NAPA CPFA CERTIFIED PLAN FIDUCIARY
                                                                            *87103390*
                      CORRESPONDENT ADDRESS:
                         MARK SOMMERS                                       CLICK HERE TO RESPOND TO THIS
                         FINNEGAN, HENDERSON, FARABOW,                      LETTER:
                      GARRETT &                                             http://www.uspto.gov/trademarks/teas/response_forms.jsp
                         901 NEW YORK AVENUE, N.W.
                         WASHINGTON, DC 20001                               VIEW YOUR APPLICATION FILE

                      APPLICANT: American Society of Pension Professional
                      ETC.

                      CORRESPONDENT’S REFERENCE/DOCKET
                      NO:
                         12428.0011
                      CORRESPONDENT E-MAIL ADDRESS:
                         docketing@finnegan.com



                                                            OFFICE ACTION

                                    STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 10/29/2016


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $50 per
international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone without incurring
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 27 of 488 Pageid#:
                                           3560

this additional fee.


The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.


SEARCH OF OFFICE’S DATABASE OF MARKS

The trademark examining attorney has searched the Office’s database of registered and pending marks and has found no conflicting marks that
would bar registration under Trademark Act Section 2(d). TMEP §704.02; see 15 U.S.C. §1052(d).


INFORMALITY


Applicant must respond to the requirement(s) set forth below.

Applicant is encouraged to telephone or e-mail the assigned trademark examining attorney to resolve the issues raised in this Office action by
examiner’s amendment. Although the USPTO will not accept a formal response by e-mail, an applicant may communicate informally by phone
or e-mail with the trademark examining attorney to agree to a proposed amendment to the application that will immediately place the application
in condition for publication for opposition, issuance of a registration, or suspension. See 37 C.F.R. §2.62(c); TMEP §707.


DISCLAIMER REQUIREMENT

Applicant must disclaim the wording “CERTIFIED PLAN FIDUCIARY ADVISER” in the mark because it merely describes an ingredient,
quality, characteristic, function, feature, purpose, or use of applicant’s goods and/or services, and thus is an unregistrable component of the
mark. See 15 U.S.C. §§1052(e)(1), 1056(a); DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695 F.3d 1247, 1251, 103 USPQ2d 1753,
1755 (Fed. Cir. 2012) (quoting In re Oppedahl & Larson LLP, 373 F.3d 1171, 1173, 71 USPQ2d 1370, 1371 (Fed. Cir. 2004)); TMEP §§1213,
1213.03(a). The wording CERTIFIED PLAN FIDUCIARY ADVISER is unregistrable on the Principal register because it describes the nature,
function or purpose of the identified services as applicant is a certified planner for fiduciary purposes, i.e., certifying professionals in the field of
advising clients and professionals with respect to retirement plan investments. Services like this are common as evidenced below.

http://www.letsmakeaplan.org/?utm_source=google&utm_medium=cpc&utm_term=%2Bcertified%20%2Bfinancial%20%2Bplanners&gclid=CLjBlcaGg
;

https://www.cfp.net/public-policy/public-policy-issues/fiduciary-standard;

An applicant may not claim exclusive rights to terms that others may need to use to describe their goods and/or services in the marketplace. See
Dena Corp. v. Belvedere Int’l, Inc. , 950 F.2d 1555, 1560, 21 USPQ2d 1047, 1051 (Fed. Cir. 1991); In re Aug. Storck KG, 218 USPQ 823, 825
(TTAB 1983). A disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.

If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).


Applicant should submit a disclaimer in the following standardized format:

        No claim is made to the exclusive right to use “CERTIFIED PLAN FIDUCIARY ADVISER” apart from the mark as shown.

For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.


If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-mail
communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to this
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 28 of 488 Pageid#:
                                           3561

Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-.05.
Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in this
Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.


                                                /Zachary Bello/
                                                Attorney Advisor
                                                Law Office 111
                                                USPTO
                                                571-272-9376
                                                zack.bello@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 29 of 488 Pageid#:
                                    3562
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 30 of 488 Pageid#:
                                    3563
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 31 of 488 Pageid#:
                                    3564
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 32 of 488 Pageid#:
                                    3565
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 33 of 488 Pageid#:
                                    3566
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 34 of 488 Pageid#:
                                    3567
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 35 of 488 Pageid#:
                                    3568
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 36 of 488 Pageid#:
                                    3569
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 37 of 488 Pageid#:
                                          3570

To:                   American Society of Pension Professional ETC. (docketing@finnegan.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87103390 - NAPA CPFA CERTIFIED PLAN FIDUCIARY -
                      12428.0011
Sent:                 10/29/2016 8:52:47 AM
Sent As:              ECOM111@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 10/29/2016 FOR U.S. APPLICATION SERIAL NO. 87103390

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 10/29/2016 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 38 of 488 Pageid#:
                                    3571




                     Exhibit
                       4
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 39 of 488 Pageid#:
                                           3572

       Generated on: This page was generated by TSDR on 2020-03-16 13:46:02 EDT
                 Mark: CFC




  US Serial Number: 73334723                                                        Application Filing Oct. 29, 1981
                                                                                                Date:
     US Registration 1217001                                                       Registration Date: Nov. 16, 1982
           Number:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: The registration has been renewed.
         Status Date: Oct. 16, 2012
    Publication Date: Aug. 24, 1982



                                                                   Mark Information
          Mark Literal CFC
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 1 - TYPESET WORD(S) /LETTER(S) /NUMBER(S)
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: Personal and Corporate Financial Planning and Consulting Services
         International 036 - Primary Class                                              U.S Class(es): 102
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Jun. 01, 1964                                               Use in Commerce: Jun. 01, 1964

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                               Currently 44E: No
            Filed 44E: No                                                              Currently 66A: No
            Filed 66A: No                                                         Currently No Basis: No
      Filed No Basis: No
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 40 of 488 Pageid#:
                                          3573

                                                  Current Owner(s) Information
          Owner Name: Capital Formation Counselors, Inc.
     Owner Address: 2934 W. Bay Dr.
                    Belleair Bluffs, FLORIDA UNITED STATES 33770
   Legal Entity Type: CORPORATION                                          State or Country FLORIDA
                                                                          Where Organized:

                                           Attorney/Correspondence Information
                                                                    Attorney of Record
     Attorney Name: J. Rodgers Lunsford III                                 Docket Number: 026072.001
    Attorney Primary rlunsford@sgrlaw.com                                    Attorney Email Yes
     Email Address:                                                             Authorized:
                                                                      Correspondent
     Correspondent J. Rodgers Lunsford III
     Name/Address: Smith, Gambrell & Russell, LLP
                   1230 Peachtree Street, N.E.
                   Suite 3100, Promenade
                   Atlanta, GEORGIA UNITED STATES 30309
                Phone: 404-815-3628
   Correspondent e- rlunsford@sgrlaw.com                                  Correspondent e- Yes
              mail:                                                        mail Authorized:
                                                           Domestic Representative - Not Found

                                                           Prosecution History
                                                                                                               Proceeding
   Date               Description
                                                                                                               Number
Oct. 16, 2012      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Oct. 16, 2012      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)                                          68502
Oct. 16, 2012      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                                       68502
Oct. 16, 2012      CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                              68502
Sep. 28, 2012      TEAS SECTION 8 & 9 RECEIVED
Apr. 08, 2008      CASE FILE IN TICRS
Feb. 20, 2003      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Feb. 20, 2003      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Nov. 07, 2002      REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Nov. 07, 2002      PAPER RECEIVED
Dec. 07, 1988      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Oct. 27, 1988      REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Nov. 16, 1982      REGISTERED-PRINCIPAL REGISTER
Aug. 24, 1982      PUBLISHED FOR OPPOSITION

                                              TM Staff and Location Information
                                                                TM Staff Information - None
                                                                       File Location
   Current Location: GENERIC WEB UPDATE                                    Date in Location: Oct. 16, 2012
        Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 41 of 488 Pageid#:
                                            3574


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Tuesday, October 16, 2012 11:00 PM
To:                        rlunsford@sgrlaw.com
Subject:                   Trademark RN 1217001: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 73334723
Registration Number: 1217001
Registration Date: Nov 16, 1982
Mark: CFC
Owner: Capital Formation Counselors, Inc.



                                                                                 Oct 16, 2012

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
036




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=73334723. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
          Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 42 of 488 Pageid#:
                                              3575

PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 07/31/2018)


         Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
                          Registration of a Mark under Sections 8 & 9


                                                   The table below presents the data as entered.

                                     Input Field                                              Entered
             REGISTRATION NUMBER                             1217001
             REGISTRATION DATE                               11/16/1982
             SERIAL NUMBER                                   73334723
             MARK SECTION
             MARK                                            CFC
             ATTORNEY SECTION (new)
             NAME                                            J. Rodgers Lunsford III
             FIRM NAME                                       Smith, Gambrell & Russell, LLP
             INTERNAL ADDRESS                                Suite 3100, Promenade
             STREET                                          1230 Peachtree Street, N.E.
             CITY                                            Atlanta
             STATE                                           Georgia
             POSTAL CODE                                     30309
             COUNTRY                                         United States
             PHONE                                           404-815-3628
             EMAIL                                           rlunsford@sgrlaw.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL            Yes
             DOCKET/REFERENCE NUMBER                         026072.001
                                                             Elizabeth G. Borland, Christopher A. Holland, Joyce B. Klemmer, Dale
                                                             Lischer, J. Rodgers Lunsford III, Michael A. Makuch, Dennis C. Rodgers,
             OTHER APPOINTED ATTORNEY
                                                             Katharine F. Rowe, Suzannah Sundby, Robert J. Veal, Matthew P. Warenzak,
                                                             Scott D. Woldow
             CORRESPONDENCE SECTION (current)
             NAME                                            J. RODGERS LUNSFORD III
             FIRM NAME                                       SMITH GAMBRELL & RUSSELL, LLP
             INTERNAL ADDRESS                                SUITE 3100, PROMENADE II
             STREET                                          1230 PEACHTREE STREET, NE
             CITY                                            ATLANTA
             STATE                                           Georgia
             POSTAL CODE                                     30309-3592
             COUNTRY                                         United States
             CORRESPONDENCE SECTION (proposed)
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 43 of 488 Pageid#:
                                    3576

NAME                                   J. RODGERS LUNSFORD III
FIRM NAME                              Smith, Gambrell & Russell, LLP
INTERNAL ADDRESS                       Suite 3100, Promenade
STREET                                 1230 Peachtree Street, N.E.
CITY                                   ATLANTA
STATE                                  Georgia
POSTAL CODE                            30309
COUNTRY                                United States
PHONE                                  404-815-3628
EMAIL                                  rlunsford@sgrlaw.com
AUTHORIZED TO COMMUNICATE VIA E-MAIL   Yes
DOCKET/REFERENCE NUMBER                026072.001
GOODS AND/OR SERVICES SECTION
INTERNATIONAL CLASS                    036
GOODS OR SERVICES                      Personal and Corporate Financial Planning and Consulting Services
   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE                   SPN0-6488163230-074637446_._CFC_r__Corporate_Purpose__exec_size.pdf
   CONVERTED PDF FILE(S)
                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890002.JPG
   (1 page)

   ORIGINAL PDF FILE                   SPN0-6488163230-074637446_._CFC_r__website.pdf
   CONVERTED PDF FILE(S)
                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890003.JPG
   (8 pages)

                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890004.JPG

                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890005.JPG

                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890006.JPG

                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890007.JPG
                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890008.JPG

                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890009.JPG

                                       \\TICRS\EXPORT16\IMAGEOUT16\733\347\73334723\xml1\S890010.JPG
SPECIMEN DESCRIPTION                   web page and brochure advertisement
OWNER SECTION (current)
NAME                                   Capital Formation Counselors, Inc.
CITY                                   Belleair Bluffs
STATE                                  Florida
ZIP/POSTAL CODE                        33770
COUNTRY                                United States
OWNER SECTION (proposed)
NAME                                   Capital Formation Counselors, Inc.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 44 of 488 Pageid#:
                                    3577

STREET                           2934 West Bay Drive
CITY                             Belleair Bluffs
STATE                            Florida
ZIP/POSTAL CODE                  33770
COUNTRY                          United States
LEGAL ENTITY SECTION (current)
TYPE                             corporation
STATE/COUNTRY OF INCORPORATION   Florida
PAYMENT SECTION
NUMBER OF CLASSES                1
NUMBER OF CLASSES PAID           1
SUBTOTAL AMOUNT                  500
TOTAL FEE PAID                   500
SIGNATURE SECTION
SIGNATURE                        /J. Rodgers Lunsford III/
SIGNATORY'S NAME                 J. Rodgers Lunsford III
SIGNATORY'S POSITION             Attorney for Registrant - Georgia Bar Member
DATE SIGNED                      09/28/2012
PAYMENT METHOD                   CC
                                 FILING INFORMATION
SUBMIT DATE                      Fri Sep 28 07:57:31 EDT 2012
                                 USPTO/S08N09-XX.XX.XXX.XX
                                 X-20120928075731758832-12
TEAS STAMP                       17001-4902c2721bbbd1a1651
                                 b8fce3ab62a9e7-CC-8723-20
                                 120928074637446722
          Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 45 of 488 Pageid#:
                                              3578
PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 07/31/2018)




 Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under
                                               Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 1217001
REGISTRATION DATE: 11/16/1982

MARK: CFC

The owner, Capital Formation Counselors, Inc., a corporation of Florida, having an address of
     2934 West Bay Drive
     Belleair Bluffs, Florida 33770
     United States
is filing a Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under Sections 8 & 9.

For International Class 036, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: Personal and Corporate Financial Planning and
Consulting Services ; or, the owner is making the listed excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) web page and brochure advertisement.

Original PDF file:
SPN0-6488163230-074637446_._CFC_r__Corporate_Purpose__exec_size.pdf
Converted PDF file(s) (1 page)
Specimen File1
Original PDF file:
SPN0-6488163230-074637446_._CFC_r__website.pdf
Converted PDF file(s) (8 pages)
Specimen File1
Specimen File2
Specimen File3
Specimen File4
Specimen File5
Specimen File6
Specimen File7
Specimen File8
The registrant's current Correspondence Information: J. RODGERS LUNSFORD III of SMITH GAMBRELL & RUSSELL, LLP
   SUITE 3100, PROMENADE II
   1230 PEACHTREE STREET, NE
   ATLANTA, Georgia (GA) 30309-3592
   United States


The registrant's proposed Correspondence Information: J. RODGERS LUNSFORD III of Smith, Gambrell & Russell, LLP
   Suite 3100, Promenade
   1230 Peachtree Street, N.E.
   ATLANTA, Georgia (GA) 30309
   United States
The docket/reference number is 026072.001.


The phone number is 404-815-3628.

The email address is rlunsford@sgrlaw.com.
The registrant hereby appoints J. Rodgers Lunsford III and Elizabeth G. Borland, Christopher A. Holland, Joyce B. Klemmer, Dale Lischer, J.
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 46 of 488 Pageid#:
                                          3579

Rodgers Lunsford III, Michael A. Makuch, Dennis C. Rodgers, Katharine F. Rowe, Suzannah Sundby, Robert J. Veal, Matthew P. Warenzak,
Scott D. Woldow of Smith, Gambrell & Russell, LLP
    Suite 3100, Promenade
    1230 Peachtree Street, N.E.
    Atlanta, Georgia 30309
    United States
to submit this Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under Sections 8 & 9
on behalf of the registrant. The docket/reference number is 026072.001.

The phone number is 404-815-3628.

The email address is rlunsford@sgrlaw.com.

A fee payment in the amount of $500 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.

                                                                   Declaration


Section 8: Declaration of Use and/or Excusable Nonuse in Commerce
Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods and/or services
identified above, as evidenced by the attached specimen(s) showing the mark as used in commerce.


The undersigned being hereby warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
Section 1001, and that such willful false statements and the like may jeopardize the validity of this document, declares that he/she is properly
authorized to execute this document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all statements
made on information and belief are believed to be true.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods/services/collective organization identified above.


Signature: /J. Rodgers Lunsford III/   Date: 09/28/2012
Signatory's Name: J. Rodgers Lunsford III
Signatory's Position: Attorney for Registrant - Georgia Bar Member

Mailing Address:
 Smith, Gambrell & Russell, LLP
 1230 Peachtree Street, N.E.
 Atlanta, Georgia 30309

Serial Number: 73334723
Internet Transmission Date: Fri Sep 28 07:57:31 EDT 2012
TEAS Stamp: USPTO/S08N09-XX.XX.XXX.XXX-2012092807573
1758832-1217001-4902c2721bbbd1a1651b8fce
3ab62a9e7-CC-8723-20120928074637446722
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 47 of 488 Pageid#:
                                    3580
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 48 of 488 Pageid#:
                                    3581
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 49 of 488 Pageid#:
                                    3582
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 50 of 488 Pageid#:
                                    3583
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 51 of 488 Pageid#:
                                    3584
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 52 of 488 Pageid#:
                                    3585
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 53 of 488 Pageid#:
                                    3586
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 54 of 488 Pageid#:
                                    3587
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 55 of 488 Pageid#:
                                    3588
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 56 of 488 Pageid#:
                                    3589
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 57 of 488 Pageid#:
                                    3590
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 58 of 488 Pageid#:
                                    3591
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 59 of 488 Pageid#:
                                    3592
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 60 of 488 Pageid#:
                                    3593
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 61 of 488 Pageid#:
                                    3594
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 62 of 488 Pageid#:
                                    3595
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 63 of 488 Pageid#:
                                    3596
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 64 of 488 Pageid#:
                                    3597
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 65 of 488 Pageid#:
                                    3598
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 66 of 488 Pageid#:
                                    3599
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 67 of 488 Pageid#:
                                    3600
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 68 of 488 Pageid#:
                                    3601
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 69 of 488 Pageid#:
                                    3602
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 70 of 488 Pageid#:
                                    3603
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 71 of 488 Pageid#:
                                    3604
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 72 of 488 Pageid#:
                                    3605
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 73 of 488 Pageid#:
                                    3606
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 74 of 488 Pageid#:
                                    3607
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 75 of 488 Pageid#:
                                    3608
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 76 of 488 Pageid#:
                                    3609
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 77 of 488 Pageid#:
                                    3610
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 78 of 488 Pageid#:
                                    3611
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 79 of 488 Pageid#:
                                    3612
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 80 of 488 Pageid#:
                                    3613
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 81 of 488 Pageid#:
                                    3614
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 82 of 488 Pageid#:
                                    3615
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 83 of 488 Pageid#:
                                    3616
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 84 of 488 Pageid#:
                                    3617
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 85 of 488 Pageid#:
                                    3618
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 86 of 488 Pageid#:
                                    3619
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 87 of 488 Pageid#:
                                    3620
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 88 of 488 Pageid#:
                                    3621
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 89 of 488 Pageid#:
                                    3622
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 90 of 488 Pageid#:
                                    3623
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 91 of 488 Pageid#:
                                    3624
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 92 of 488 Pageid#:
                                    3625
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 93 of 488 Pageid#:
                                    3626
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 94 of 488 Pageid#:
                                    3627
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 95 of 488 Pageid#:
                                    3628
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 96 of 488 Pageid#:
                                    3629
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 97 of 488 Pageid#:
                                    3630
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 98 of 488 Pageid#:
                                    3631
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 99 of 488 Pageid#:
                                    3632
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 100 of 488 Pageid#:
                                     3633
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 101 of 488 Pageid#:
                                     3634
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 102 of 488 Pageid#:
                                     3635
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 103 of 488 Pageid#:
                                     3636
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 104 of 488 Pageid#:
                                     3637
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 105 of 488 Pageid#:
                                     3638
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 106 of 488 Pageid#:
                                     3639
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 107 of 488 Pageid#:
                                     3640
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 108 of 488 Pageid#:
                                     3641
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 109 of 488 Pageid#:
                                     3642
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 110 of 488 Pageid#:
                                     3643
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 111 of 488 Pageid#:
                                     3644
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 112 of 488 Pageid#:
                                     3645
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 113 of 488 Pageid#:
                                     3646
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 114 of 488 Pageid#:
                                     3647
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 115 of 488 Pageid#:
                                     3648
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 116 of 488 Pageid#:
                                     3649
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 117 of 488 Pageid#:
                                     3650
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 118 of 488 Pageid#:
                                     3651
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 119 of 488 Pageid#:
                                     3652
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 120 of 488 Pageid#:
                                     3653
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 121 of 488 Pageid#:
                                     3654
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 122 of 488 Pageid#:
                                     3655
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 123 of 488 Pageid#:
                                     3656
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 124 of 488 Pageid#:
                                     3657
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 125 of 488 Pageid#:
                                     3658
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 126 of 488 Pageid#:
                                     3659
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 127 of 488 Pageid#:
                                     3660
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 128 of 488 Pageid#:
                                     3661
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 129 of 488 Pageid#:
                                     3662
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 130 of 488 Pageid#:
                                     3663
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 131 of 488 Pageid#:
                                     3664
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 132 of 488 Pageid#:
                                     3665
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 133 of 488 Pageid#:
                                     3666
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 134 of 488 Pageid#:
                                     3667
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 135 of 488 Pageid#:
                                     3668
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 136 of 488 Pageid#:
                                     3669
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 137 of 488 Pageid#:
                                     3670
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 138 of 488 Pageid#:
                                     3671
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 139 of 488 Pageid#:
                                     3672
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 140 of 488 Pageid#:
                                     3673
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 141 of 488 Pageid#:
                                     3674
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 142 of 488 Pageid#:
                                     3675
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 143 of 488 Pageid#:
                                     3676
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 144 of 488 Pageid#:
                                     3677
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 145 of 488 Pageid#:
                                     3678
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 146 of 488 Pageid#:
                                     3679
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 147 of 488 Pageid#:
                                     3680
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 148 of 488 Pageid#:
                                     3681
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 149 of 488 Pageid#:
                                     3682
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 150 of 488 Pageid#:
                                     3683
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 151 of 488 Pageid#:
                                     3684
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 152 of 488 Pageid#:
                                     3685
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 153 of 488 Pageid#:
                                     3686
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 154 of 488 Pageid#:
                                     3687
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 155 of 488 Pageid#:
                                     3688
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 156 of 488 Pageid#:
                                     3689
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 157 of 488 Pageid#:
                                     3690
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 158 of 488 Pageid#:
                                     3691
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 159 of 488 Pageid#:
                                     3692
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 160 of 488 Pageid#:
                                     3693
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 161 of 488 Pageid#:
                                     3694
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 162 of 488 Pageid#:
                                     3695
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 163 of 488 Pageid#:
                                     3696
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 164 of 488 Pageid#:
                                     3697
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 165 of 488 Pageid#:
                                     3698
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 166 of 488 Pageid#:
                                     3699
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 167 of 488 Pageid#:
                                     3700
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 168 of 488 Pageid#:
                                     3701
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 169 of 488 Pageid#:
                                     3702
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 170 of 488 Pageid#:
                                     3703
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 171 of 488 Pageid#:
                                     3704
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 172 of 488 Pageid#:
                                     3705
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 173 of 488 Pageid#:
                                     3706
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 174 of 488 Pageid#:
                                     3707
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 175 of 488 Pageid#:
                                     3708
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 176 of 488 Pageid#:
                                     3709
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 177 of 488 Pageid#:
                                     3710
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 178 of 488 Pageid#:
                                     3711
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 179 of 488 Pageid#:
                                     3712
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 180 of 488 Pageid#:
                                     3713
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 181 of 488 Pageid#:
                                     3714
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 182 of 488 Pageid#:
                                     3715
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 183 of 488 Pageid#:
                                     3716
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 184 of 488 Pageid#:
                                     3717
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 185 of 488 Pageid#:
                                     3718
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 186 of 488 Pageid#:
                                     3719
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 187 of 488 Pageid#:
                                     3720




                      Exhibit
                        5
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 188 of 488 Pageid#:
                                           3721

       Generated on: This page was generated by TSDR on 2020-03-16 13:54:11 EDT
                 Mark: CFE




  US Serial Number: 73836181                                                        Application Filing Nov. 06, 1989
                                                                                                Date:
     US Registration 1714241                                                       Registration Date: Sep. 08, 1992
           Number:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: The registration has been renewed.
         Status Date: Mar. 10, 2012
    Publication Date: Jul. 24, 1990



                                                                   Mark Information
          Mark Literal CFE
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 1 - TYPESET WORD(S) /LETTER(S) /NUMBER(S)
              Type:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: EDUCATIONAL SERVICES; NAMELY, PROVIDING SELF-STUDY COURSES DESIGNED FOR PERSONS EMPLOYED OR
                       ENGAGED BY OR ON BEHALF OF GOVERNMENT REGULATORY AUTHORITIES TO CONDUCT OR ASSIST IN THE FINANCIAL
                       EXAMINATION OF BANKS, SAVINGS AND LOANS, CREDIT UNIONS, INSURANCE COMPANIES AND OTHER FINANCIAL
                       INSTITUTIONS OR TO PREPARE FOR GOVERNMENT REGULATORY AUTHORITIES' REPORTS OF SUCH EXAMINATION
         International 041 - Primary Class                                              U.S Class(es): 107
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Nov. 07, 1974                                               Use in Commerce: Nov. 07, 1974

                  For: ASSOCIATION SERVICES; NAMELY, PROMOTING THE INTERESTS OF FINANCIAL EXAMINERS PRESENTLY OR FORMERLY
                       EMPLOYED OR ENGAGED BY OR ON BEHALF OF GOVERNMENT REGULATORY AUTHORITIES TO CONDUCT OR ASSIST IN
                       THE FINANCIAL EXAMINATION OF BANKS, SAVINGS AND LOANS, CREDIT UNIONS, INSURANCE COMPANIES AND OTHER
                       FINANCIAL INSTITUTIONS OR TO PREPARE FOR GOVERNMENT REGULATORY AUTHORITIES' REPORTS OF SUCH
                       EXAMINATION
         International 042 - Primary Class                                              U.S Class(es): 100
            Class(es):
        Class Status: ACTIVE
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 189 of 488 Pageid#:
                                          3722

                Basis: 1(a)
             First Use: Nov. 07, 1974                                  Use in Commerce: Nov. 07, 1974

                                               Basis Information (Case Level)
            Filed Use: Yes                                                Currently Use: Yes
             Filed ITU: No                                                 Currently ITU: No
            Filed 44D: No                                                 Currently 44E: No
            Filed 44E: No                                                 Currently 66A: No
            Filed 66A: No                                             Currently No Basis: No
      Filed No Basis: No

                                               Current Owner(s) Information
          Owner Name: SOCIETY OF FINANCIAL EXAMINERS
     Owner Address: 12100 Sunset Hills Road, Suite 130
                    Reston, VIRGINIA UNITED STATES 201903221
   Legal Entity Type: CORPORATION                                       State or Country DISTRICT OF COLUMBIA
                                                                       Where Organized:

                                         Attorney/Correspondence Information
                                                                 Attorney of Record
     Attorney Name: Monique L. Ribando                                   Docket Number: 369211.00085
    Attorney Primary ptodocket@dl.com                                     Attorney Email Yes
     Email Address:                                                          Authorized:
                                                                   Correspondent
     Correspondent Monique L. Ribando
     Name/Address: DEWEY & LEBOEUF LLP
                   1301 Avenue of the Americas
                   NEW YORK, NEW YORK UNITED STATES 10019
                Phone: 212-259-8318                                                   Fax: 212-259-6333
   Correspondent e- ptodocket@dl.com                                    Correspondent e- Yes
              mail:                                                      mail Authorized:
                                                         Domestic Representative - Not Found

                                                         Prosecution History
                                                                                                                  Proceeding
   Date              Description
                                                                                                                  Number
Mar. 10, 2012      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Mar. 10, 2012      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)                                             68335
Mar. 10, 2012      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED                                          68335
Mar. 09, 2012      TEAS SECTION 8 & 9 RECEIVED
Oct. 27, 2010      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                                    88888
Oct. 27, 2010      TEAS CHANGE OF OWNER ADDRESS RECEIVED
Jan. 25, 2008      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Oct. 17, 2007      CASE FILE IN TICRS
Jan. 02, 2003      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Jan. 02, 2003      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Sep. 09, 2002      REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Sep. 09, 2002      PAPER RECEIVED
Oct. 28, 1998      REGISTERED - SEC. 8 (6-YR) ACCEPTED
Aug. 10, 1998      REGISTERED - SEC. 8 (6-YR) FILED
Nov. 02, 1993      CERTIFICATE OF CORRECTION ISSUED
May 27, 1993       SEC 7 REQUEST FILED
Sep. 08, 1992      REGISTERED-PRINCIPAL REGISTER
Mar. 25, 1992      OPPOSITION TERMINATED NO. 999999                                                             84007
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 190 of 488 Pageid#:
                                           3723

Mar. 10, 1992       OPPOSITION DISMISSED NO. 999999                                                                                       84007
Feb. 04, 1991       OPPOSITION INSTITUTED NO. 999999                                                                                      84007
Jul. 24, 1990       PUBLISHED FOR OPPOSITION
Jun. 23, 1990       NOTICE OF PUBLICATION
Apr. 30, 1990       APPROVED FOR PUB - PRINCIPAL REGISTER
Mar. 27, 1990       CORRESPONDENCE RECEIVED IN LAW OFFICE
Jan. 11, 1990       NON-FINAL ACTION MAILED
Jan. 03, 1990       ASSIGNED TO EXAMINER                                                                                                  62178

                                              TM Staff and Location Information
                                                            TM Staff Information - None
                                                                    File Location
    Current Location: GENERIC WEB UPDATE                                Date in Location: Mar. 10, 2012

                                                                Proceedings
    Summary
          Number of 1
        Proceedings:

                                                 Type of Proceeding: Opposition

            Proceeding 91084007                                                Filing Date: Oct 22, 1990
              Number:
                Status: Terminated                                            Status Date: Mar 25, 1992
           Interlocutory
               Attorney:
                                                                    Defendant
                 Name: SOCEITY OF FINANCIAL EXAMINERS
      Correspondent VIVIAN POLAK
           Address: LEBOEUF, LAMB, LEIBY & MACRAE
                    520 MADISON AVENUE
                    NEW YORK NY UNITED STATES , 10022
Associated marks
                                                                                                                            Serial           Registration
    Mark                                                    Application Status
                                                                                                                            Number           Number
CFE                                                       REGISTERED AND RENEWED                                          73836181        1714241
                                                                    Plaintiff(s)
                 Name: INTERNATIONAL BOARD OF STANDARDS AND
      Correspondent MARIBEL FIGUEREDO
           Address: KANE, DALSIMER, SULLIVAN, KURUCZ, LEVY,
                    EISELE AND RICHARD 711 THIRD AVENUE
                    NEW YORK NY UNITED STATES , 10017
Associated marks
                                                                                                                            Serial           Registration
    Mark                                                    Application Status
                                                                                                                            Number           Number
CFP                                                       CANCELLED - SECTION 7                                           73021679        1053754
                                                                Prosecution History
    Entry Number             History Text                                                                    Date                      Due Date
1                          FILED AND FEE                                                                   Oct 22, 1990
2                          NOTICE SENT; ANSWER DUE (DUE DATE)                                              Feb 04, 1991              Mar 18, 1991
3                          PENDING, INSTITUTED                                                             Feb 04, 1991
4                          ANSWER                                                                          Mar 15, 1991
5                          TRIAL DATES SET                                                                 Mar 29, 1991
6                          DELETE ENTRY                                                                    Mar 29, 1991
7                          STIP TO EXT TIME                                                                Jun 12, 1991
8                          STIP TO CONSENT TO FILING AMENDED ANSWER                                        Jun 12, 1991
9                          DEF'S AMENDED ANSWER                                                            Jun 12, 1991
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 191 of 488 Pageid#:
                                          3724

10             #12 ACCEPTED; TRIAL DATES RESET                         Jun 24, 1991
11             TRIAL DATES RESET                                       Jun 24, 1991
12             STIPULATION FOR AN EXTENSION OF TIME                    Aug 23, 1991
13             STIPULATED MOT TO EXT TIME                              Oct 29, 1991
14             SUSPENDED                                               Nov 27, 1991
15             STIPULATION FOR AN EXTENSION OF TIME                    Nov 29, 1991
16             PL'S MOT TO DISMISS W/PREJUDICE                         Jan 17, 1992
17             STIP AMENDMENT OF 73/836,181                            Jan 17, 1992
18             AMENDMENT NOT ACCEPTED; REVISED AMENDMENT DUE 2-24-92   Feb 04, 1992
19             STIP SECOND AMENDMENT OF SN 73/836,181                  Feb 20, 1992
20             BD'S DECISION: DISMISSED W/ PREJUDICE                   Mar 10, 1992
21             TERMINATED                                              Mar 25, 1992
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 192 of 488 Pageid#:
                                            3725


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Saturday, March 10, 2012 11:01 PM
To:                        ptodocket@dl.com
Subject:                   Trademark RN 1714241: Official Notice of Acceptance and Renewal under Sections 8 and 9 of the Trademark Act

Serial Number: 73836181
Registration Number: 1714241
Registration Date: Sep 8, 1992
Mark: CFE
Owner: SOCIETY OF FINANCIAL EXAMINERS



                                                                                 Mar 10, 2012

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                              NOTICE OF REGISTRATION RENEWAL UNDER SECTION 9
The renewal application filed for the above-identified registration meets the requirements of Section 9 of the Trademark Act, 15 U.S.C. §1059. The registration is renewed.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
041, 042




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                   REQUIREMENTS FOR MAINTAINING REGISTRATION IN SUCCESSIVE TEN-YEAR PERIODS

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=73836181. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 193 of 488 Pageid#:
                                              3726

PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 07/31/2018)


         Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of
                          Registration of a Mark under Sections 8 & 9


                                                   The table below presents the data as entered.

                                     Input Field                                            Entered
             REGISTRATION NUMBER                              1714241
             REGISTRATION DATE                                09/08/1992
             SERIAL NUMBER                                    73836181
             MARK SECTION
             MARK                                             CFE
             ATTORNEY SECTION (current)
             NAME                                             MATHEW D KENNEDY
             FIRM NAME                                        DEWEY & LEBOEUF LLP
             INTERNAL ADDRESS                                 1301 AVENUE OF THE AMERICAS
             STREET                                           NEW YORK NY 10019-6092
             CITY                                             NEW YORK
             STATE                                            New York
             POSTAL CODE                                      10019
             COUNTRY                                          United States
             PHONE                                            212 259 8000
             FAX                                              212 259 6333
             EMAIL                                            ptodocket@dl.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL             Yes
             ATTORNEY SECTION (proposed)
             NAME                                             Monique L. Ribando
             FIRM NAME                                        DEWEY & LEBOEUF LLP
             STREET                                           1301 Avenue of the Americas
             CITY                                             NEW YORK
             STATE                                            New York
             POSTAL CODE                                      10019
             COUNTRY                                          United States
             PHONE                                            212-259-8318
             FAX                                              212-259-6333
             EMAIL                                            ptodocket@dl.com
             AUTHORIZED TO COMMUNICATE VIA E-MAIL             Yes
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 194 of 488 Pageid#:
                                     3727

 DOCKET/REFERENCE NUMBER                369211.000851
 OTHER APPOINTED ATTORNEY               all other attorneys
 CORRESPONDENCE SECTION (current)
 NAME                                   MONIQUE L. RIBANDO
 FIRM NAME                              DEWEY & LEBOEUF LLP
 INTERNAL ADDRESS                       1301 AVENUE OF THE AMERICAS
 STREET                                 NEW YORK NY 10019-6092
 CITY                                   NEW YORK
 STATE                                  New York
 POSTAL CODE                            10019
 COUNTRY                                United States
 PHONE                                  212 259 8000
 FAX                                    212 259 6333
 EMAIL                                  ptodocket@dl.com
 AUTHORIZED TO COMMUNICATE VIA E-MAIL   Yes
 CORRESPONDENCE SECTION (proposed)
 NAME                                   MONIQUE L. RIBANDO
 FIRM NAME                              DEWEY & LEBOEUF LLP
 STREET                                 1301 Avenue of the Americas
 CITY                                   NEW YORK
 STATE                                  New York
 POSTAL CODE                            10019
 COUNTRY                                United States
 PHONE                                  212-259-8318
 FAX                                    212-259-6333
 EMAIL                                  ptodocket@dl.com;mribando@dl.com
 AUTHORIZED TO COMMUNICATE VIA E-MAIL   Yes
 DOCKET/REFERENCE NUMBER                369211.000851
 GOODS AND/OR SERVICES SECTION
 INTERNATIONAL CLASS                    041
                                        EDUCATIONAL SERVICES; NAMELY, PROVIDING SELF-STUDY
                                        COURSES DESIGNED FOR PERSONS EMPLOYED OR ENGAGED BY
                                        OR ON BEHALF OF GOVERNMENT REGULATORY AUTHORITIES
                                        TO CONDUCT OR ASSIST IN THE FINANCIAL EXAMINATION OF
 GOODS OR SERVICES
                                        BANKS, SAVINGS AND LOANS, CREDIT UNIONS, INSURANCE
                                        COMPANIES AND OTHER FINANCIAL INSTITUTIONS OR TO
                                        PREPARE FOR GOVERNMENT REGULATORY AUTHORITIES'
                                        REPORTS OF SUCH EXAMINATION
   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE                    SPN0-38119132254-140416031_._Specimen_1.pdf
   CONVERTED PDF FILE(S)
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 195 of 488 Pageid#:
                                     3728

   (2 pages)
                                  \\TICRS\EXPORT11\IMAGEOUT11\738\361\73836181\xml2\S890002.JPG

                                  \\TICRS\EXPORT11\IMAGEOUT11\738\361\73836181\xml2\S890003.JPG

   ORIGINAL PDF FILE              SPN0-38119132254-140416031_._Specimen_2.pdf
   CONVERTED PDF FILE(S)
                                  \\TICRS\EXPORT11\IMAGEOUT11\738\361\73836181\xml2\S890004.JPG
   (1 page)

 SPECIMEN DESCRIPTION             Registrant's Brochure; Screenshot of Registrant's Website
 INTERNATIONAL CLASS              042
                                  ASSOCIATION SERVICES; NAMELY, PROMOTING THE INTERESTS
                                  OF FINANCIAL EXAMINERS PRESENTLY OR FORMERLY
                                  EMPLOYED OR ENGAGED BY OR ON BEHALF OF GOVERNMENT
                                  REGULATORY AUTHORITIES TO CONDUCT OR ASSIST IN THE
 GOODS OR SERVICES
                                  FINANCIAL EXAMINATION OF BANKS, SAVINGS AND LOANS,
                                  CREDIT UNIONS, INSURANCE COMPANIES AND OTHER
                                  FINANCIAL INSTITUTIONS OR TO PREPARE FOR GOVERNMENT
                                  REGULATORY AUTHORITIES' REPORTS OF SUCH EXAMINATION
   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE              SPN1-38119132254-140416031_._Specimen_1.pdf
   CONVERTED PDF FILE(S)
                                  \\TICRS\EXPORT11\IMAGEOUT11\738\361\73836181\xml2\S890005.JPG
   (2 pages)

                                  \\TICRS\EXPORT11\IMAGEOUT11\738\361\73836181\xml2\S890006.JPG
   ORIGINAL PDF FILE              SPN1-38119132254-140416031_._Specimen_2.pdf
   CONVERTED PDF FILE(S)
                                  \\TICRS\EXPORT11\IMAGEOUT11\738\361\73836181\xml2\S890007.JPG
   (1 page)

 SPECIMEN DESCRIPTION             Registrant's Brochure; Screenshot of Registrant's Website
 OWNER SECTION (current)
 NAME                             SOCIETY OF FINANCIAL EXAMINERS
 STREET                           12100 Sunset Hills Road, Suite 130
 CITY                             Reston
 STATE                            Virginia
 ZIP/POSTAL CODE                  20190-3221
 COUNTRY                          United States
 LEGAL ENTITY SECTION (current)
 TYPE                             corporation
 STATE/COUNTRY OF INCORPORATION   District of Columbia
 PAYMENT SECTION
 NUMBER OF CLASSES                2
 NUMBER OF CLASSES PAID           2
 SUBTOTAL AMOUNT                  1000
 TOTAL FEE PAID                   1000
 SIGNATURE SECTION
 SIGNATURE                        /Michael P. Dinius/
 SIGNATORY'S NAME                 Michael P. Dinius
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 196 of 488 Pageid#:
                                     3729

 SIGNATORY'S POSITION           President
 DATE SIGNED                    03/09/2012
 PAYMENT METHOD                 DA
                               FILING INFORMATION
 SUBMIT DATE                    Fri Mar 09 14:05:50 EST 2012
                                USPTO/S08N09-XX.XXX.XXX.X
                                XX-20120309140550051536-1
 TEAS STAMP                     714241-490c325f814fea4376
                                7a47c8e7b2175c34-DA-364-2
                                0120308173624932657
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 197 of 488 Pageid#:
                                              3730
PTO Form 1963 (Rev 5/2006)
OMB No. 0651-0055 (Exp 07/31/2018)




 Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under
                                               Sections 8 & 9
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 1714241
REGISTRATION DATE: 09/08/1992

MARK: CFE

The owner, SOCIETY OF FINANCIAL EXAMINERS, a corporation of District of Columbia, having an address of
     12100 Sunset Hills Road, Suite 130
     Reston, Virginia 20190-3221
     United States
is filing a Combined Declaration of Use and/or Excusable Nonuse/Application for Renewal of Registration of a Mark under Sections 8 & 9.

For International Class 041, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: EDUCATIONAL SERVICES; NAMELY,
PROVIDING SELF-STUDY COURSES DESIGNED FOR PERSONS EMPLOYED OR ENGAGED BY OR ON BEHALF OF
GOVERNMENT REGULATORY AUTHORITIES TO CONDUCT OR ASSIST IN THE FINANCIAL EXAMINATION OF BANKS,
SAVINGS AND LOANS, CREDIT UNIONS, INSURANCE COMPANIES AND OTHER FINANCIAL INSTITUTIONS OR TO PREPARE
FOR GOVERNMENT REGULATORY AUTHORITIES' REPORTS OF SUCH EXAMINATION ; or, the owner is making the listed excusable
nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) Registrant's Brochure; Screenshot of Registrant's Website.

Original PDF file:
SPN0-38119132254-140416031_._Specimen_1.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2
Original PDF file:
SPN0-38119132254-140416031_._Specimen_2.pdf
Converted PDF file(s) (1 page)
Specimen File1

For International Class 042, the mark is in use in commerce on or in connection with all goods/services, or to indicate membership in the
collective membership organization, listed in the existing registration for this specific class: ASSOCIATION SERVICES; NAMELY,
PROMOTING THE INTERESTS OF FINANCIAL EXAMINERS PRESENTLY OR FORMERLY EMPLOYED OR ENGAGED BY OR ON
BEHALF OF GOVERNMENT REGULATORY AUTHORITIES TO CONDUCT OR ASSIST IN THE FINANCIAL EXAMINATION OF
BANKS, SAVINGS AND LOANS, CREDIT UNIONS, INSURANCE COMPANIES AND OTHER FINANCIAL INSTITUTIONS OR TO
PREPARE FOR GOVERNMENT REGULATORY AUTHORITIES' REPORTS OF SUCH EXAMINATION ; or, the owner is making the
listed excusable nonuse claim.

The owner is submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in this class,
consisting of a(n) Registrant's Brochure; Screenshot of Registrant's Website.

Original PDF file:
SPN1-38119132254-140416031_._Specimen_1.pdf
Converted PDF file(s) (2 pages)
Specimen File1
Specimen File2
Original PDF file:
SPN1-38119132254-140416031_._Specimen_2.pdf
Converted PDF file(s) (1 page)
Specimen File1
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 198 of 488 Pageid#:
                                           3731

The registrant's current Attorney Information: MATHEW D KENNEDY of DEWEY & LEBOEUF LLP
   1301 AVENUE OF THE AMERICAS
   NEW YORK NY 10019-6092
   NEW YORK, New York (NY) 10019
   United States


The registrant's proposed Attorney Information: Monique L. Ribando of DEWEY & LEBOEUF LLP
   1301 Avenue of the Americas
   NEW YORK, New York (NY) 10019
   United States
The docket/reference number is 369211.000851.
The Other Appointed Attorney(s): all other attorneys.

The phone number is 212-259-8318.

The fax number is 212-259-6333.

The email address is ptodocket@dl.com.
The registrant's current Correspondence Information: MONIQUE L. RIBANDO of DEWEY & LEBOEUF LLP
   1301 AVENUE OF THE AMERICAS
   NEW YORK NY 10019-6092
   NEW YORK, New York (NY) 10019
   United States


The registrant's proposed Correspondence Information: MONIQUE L. RIBANDO of DEWEY & LEBOEUF LLP
   1301 Avenue of the Americas
   NEW YORK, New York (NY) 10019
   United States
The docket/reference number is 369211.000851.


The phone number is 212-259-8318.

The fax number is 212-259-6333.

The email address is ptodocket@dl.com;mribando@dl.com.

A fee payment in the amount of $1000 will be submitted with the form, representing payment for 2 class(es), plus any additional grace period
fee, if necessary.

                                                                   Declaration


Section 8: Declaration of Use and/or Excusable Nonuse in Commerce
Unless the owner has specifically claimed excusable nonuse, the mark is in use in commerce on or in connection with the goods and/or services
identified above, as evidenced by the attached specimen(s) showing the mark as used in commerce.


The undersigned being hereby warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C.
Section 1001, and that such willful false statements and the like may jeopardize the validity of this document, declares that he/she is properly
authorized to execute this document on behalf of the Owner; and all statements made of his/her own knowledge are true and that all statements
made on information and belief are believed to be true.

Section 9: Application for Renewal
The registrant requests that the registration be renewed for the goods/services/collective organization identified above.


Signature: /Michael P. Dinius/  Date: 03/09/2012
Signatory's Name: Michael P. Dinius
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 199 of 488 Pageid#:
                                           3732

Signatory's Position: President

Mailing Address (current):
 DEWEY & LEBOEUF LLP
 NEW YORK NY 10019-6092
 NEW YORK, New York 10019

Mailing Address (proposed):
 DEWEY & LEBOEUF LLP
 1301 Avenue of the Americas
 NEW YORK, New York 10019

Serial Number: 73836181
Internet Transmission Date: Fri Mar 09 14:05:50 EST 2012
TEAS Stamp: USPTO/S08N09-XX.XXX.XXX.XXX-201203091405
50051536-1714241-490c325f814fea43767a47c
8e7b2175c34-DA-364-20120308173624932657
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 200 of 488 Pageid#:
                                     3733
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 201 of 488 Pageid#:
                                     3734
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 202 of 488 Pageid#:
                                     3735
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 203 of 488 Pageid#:
                                     3736
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 204 of 488 Pageid#:
                                     3737
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 205 of 488 Pageid#:
                                     3738
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 206 of 488 Pageid#:
                                     3739
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 207 of 488 Pageid#:
                                     3740
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 208 of 488 Pageid#:
                                     3741
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 209 of 488 Pageid#:
                                     3742
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 210 of 488 Pageid#:
                                     3743
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 211 of 488 Pageid#:
                                     3744
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 212 of 488 Pageid#:
                                     3745
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 213 of 488 Pageid#:
                                              3746

PTO Form 2197 (Rev 09/2005)
OMB No. 0651-0056 (Exp 09/30/2011)


                                                       Change Of Owner's Address


                                                   The table below presents the data as entered.

                                     Input Field                                               Entered
             SERIAL NUMBER                                     73836181
             REGISTRATION NUMBER                               1714241
             LAW OFFICE ASSIGNED                               LAW OFFICE 8
             MARK SECTION
             MARK                                              CFE
             OWNER SECTION (current)
             NAME                                              SOCIETY OF FINANCIAL EXAMINERS
             STREET                                            4101 LAKE BOONE TRAIL, SUITE 201
             CITY                                              RALEIGH
             STATE                                             North Carolina
             ZIP/POSTAL CODE                                   27607
             COUNTRY                                           US
             CORRESPONDENCE SECTION (current)
                                                               VIVIAN POLAK
                                                               Dewey & LeBoeuf LLP
                                                               1301 Avenue of the Americas
             ORIGINAL ADDRESS                                  New York NY 10019-6092
                                                               212 259 8000
                                                               212 259 6333
                                                               ptodocket@dl.com
             NEW OWNER ADDRESS
             STREET                                            12100 Sunset Hills Road, Suite 130
             CITY                                              Reston
             STATE                                             Virginia
             ZIP/POSTAL CODE                                   20190-3221
             COUNTRY                                           United States
             NEW CORRESPONDENCE ADDRESS FOR OWNER
             NAME                                              Monique L. Ribando
             FIRM NAME                                         Dewey & LeBoeuf LLP
             INDIVIDUAL ATTORNEY
             DOCKET/REFERENCE NUMBER
                                                               369211-00085

             INTERNAL ADDRESS                                  NEW YORK NY 10019-6092
             STREET                                            1301 AVENUE OF THE AMERICAS
             CITY                                              New York
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 214 of 488 Pageid#:
                                     3747

 STATE                           New York
 COUNTRY                         United States
 POSTAL/ZIP CODE                 10019
 PHONE                           212 259 8000
 FAX                             212 259 6333
 SIGNATURE SECTION
 SIGNATURE                       /Monique L. Ribando/
 SIGNATORY NAME                  Monique L. Ribando
 SIGNATORY DATE                  10/27/2010
 SIGNATORY POSITION              Attorney of Record, NYS bar member
 FILING INFORMATION SECTION
 SUBMIT DATE                     Wed Oct 27 12:51:19 EDT 2010
                                 USPTO/COA-XX.XXX.XXX.XXX-
                                 20101027125119143215-7383
 TEAS STAMP                      6182-4702686aa1145f8df383
                                 dd9f432622ca6e-N/A-N/A-20
                                 101027124359768575
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 215 of 488 Pageid#:
                                     3748

                                Change Of Correspondence Address


                                The table below presents the data as entered.

                  Input Field                                              Entered
 SERIAL NUMBER                              73836181
 REGISTRATION NUMBER                        1714241
 LAW OFFICE ASSIGNED                        LAW OFFICE 8
 MARK SECTION
 MARK                                       CFE
 CORRESPONDENCE SECTION (current)
                                            MATHEW D KENNEDY
                                            LEBOUF LAMB GREENE & MCCRAE
 ORIGINAL ADDRESS                           125 WEST 55TH STREET
                                            NEW YORK New York 10019-5389
                                            United States
 NEW CORRESPONDENCE ADDRESS
                                            VIVIAN POLAK
                                            Dewey & LeBoeuf LLP
                                            1301 Avenue of the Americas
                                            New York
                                            New York
 NEW ADDRESS
                                            United States
                                            10019-6092
                                            212 259 8000
                                            212 259 6333
                                            ptodocket@dl.com
 SIGNATURE SECTION
 SIGNATURE                                  /Monique L. Ribando/
 SIGNATORY NAME                             Monique L. Ribando
 SIGNATORY DATE                             01/25/2008
 SIGNATORY POSITION                         Attorney
 FILING INFORMATION SECTION
 SUBMIT DATE                                Fri Jan 25 14:06:54 EST 2008
                                            USPTO/CCA-XXX.XXX.XX.X-20
                                            080125140654476217-751701
 TEAS STAMP                                 69-40025c037fee17295e477e
                                            d6bbd60ab34c4-N/A-N/A-200
                                            80125095610672374
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 216 of 488 Pageid#:
                                     3749
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 217 of 488 Pageid#:
                                     3750
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 218 of 488 Pageid#:
                                     3751
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 219 of 488 Pageid#:
                                     3752
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 220 of 488 Pageid#:
                                     3753
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 221 of 488 Pageid#:
                                     3754
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 222 of 488 Pageid#:
                                     3755
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 223 of 488 Pageid#:
                                     3756
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 224 of 488 Pageid#:
                                     3757
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 225 of 488 Pageid#:
                                     3758
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 226 of 488 Pageid#:
                                     3759
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 227 of 488 Pageid#:
                                     3760
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 228 of 488 Pageid#:
                                     3761
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 229 of 488 Pageid#:
                                     3762
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 230 of 488 Pageid#:
                                     3763
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 231 of 488 Pageid#:
                                     3764
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 232 of 488 Pageid#:
                                     3765
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 233 of 488 Pageid#:
                                     3766
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 234 of 488 Pageid#:
                                     3767
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 235 of 488 Pageid#:
                                     3768
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 236 of 488 Pageid#:
                                     3769
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 237 of 488 Pageid#:
                                     3770
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 238 of 488 Pageid#:
                                     3771
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 239 of 488 Pageid#:
                                     3772
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 240 of 488 Pageid#:
                                     3773
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 241 of 488 Pageid#:
                                     3774
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 242 of 488 Pageid#:
                                     3775
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 243 of 488 Pageid#:
                                     3776
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 244 of 488 Pageid#:
                                     3777
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 245 of 488 Pageid#:
                                     3778
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 246 of 488 Pageid#:
                                     3779
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 247 of 488 Pageid#:
                                     3780
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 248 of 488 Pageid#:
                                     3781
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 249 of 488 Pageid#:
                                     3782
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 250 of 488 Pageid#:
                                     3783
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 251 of 488 Pageid#:
                                     3784
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 252 of 488 Pageid#:
                                     3785
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 253 of 488 Pageid#:
                                     3786
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 254 of 488 Pageid#:
                                     3787
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 255 of 488 Pageid#:
                                     3788
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 256 of 488 Pageid#:
                                     3789
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 257 of 488 Pageid#:
                                     3790
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 258 of 488 Pageid#:
                                     3791
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 259 of 488 Pageid#:
                                     3792
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 260 of 488 Pageid#:
                                     3793
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 261 of 488 Pageid#:
                                     3794
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 262 of 488 Pageid#:
                                     3795
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 263 of 488 Pageid#:
                                     3796
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 264 of 488 Pageid#:
                                     3797
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 265 of 488 Pageid#:
                                     3798
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 266 of 488 Pageid#:
                                     3799
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 267 of 488 Pageid#:
                                     3800
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 268 of 488 Pageid#:
                                     3801
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 269 of 488 Pageid#:
                                     3802
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 270 of 488 Pageid#:
                                     3803
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 271 of 488 Pageid#:
                                     3804
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 272 of 488 Pageid#:
                                     3805
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 273 of 488 Pageid#:
                                     3806
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 274 of 488 Pageid#:
                                     3807
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 275 of 488 Pageid#:
                                     3808
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 276 of 488 Pageid#:
                                     3809
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 277 of 488 Pageid#:
                                     3810
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 278 of 488 Pageid#:
                                     3811
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 279 of 488 Pageid#:
                                     3812
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 280 of 488 Pageid#:
                                     3813
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 281 of 488 Pageid#:
                                     3814
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 282 of 488 Pageid#:
                                     3815
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 283 of 488 Pageid#:
                                     3816
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 284 of 488 Pageid#:
                                     3817
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 285 of 488 Pageid#:
                                     3818
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 286 of 488 Pageid#:
                                     3819
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 287 of 488 Pageid#:
                                     3820
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 288 of 488 Pageid#:
                                     3821
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 289 of 488 Pageid#:
                                     3822
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 290 of 488 Pageid#:
                                     3823
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 291 of 488 Pageid#:
                                     3824
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 292 of 488 Pageid#:
                                     3825
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 293 of 488 Pageid#:
                                     3826
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 294 of 488 Pageid#:
                                     3827
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 295 of 488 Pageid#:
                                     3828
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 296 of 488 Pageid#:
                                     3829
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 297 of 488 Pageid#:
                                     3830
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 298 of 488 Pageid#:
                                     3831
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 299 of 488 Pageid#:
                                     3832
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 300 of 488 Pageid#:
                                     3833
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 301 of 488 Pageid#:
                                     3834
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 302 of 488 Pageid#:
                                     3835
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 303 of 488 Pageid#:
                                     3836
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 304 of 488 Pageid#:
                                     3837
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 305 of 488 Pageid#:
                                     3838
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 306 of 488 Pageid#:
                                     3839
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 307 of 488 Pageid#:
                                     3840
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 308 of 488 Pageid#:
                                     3841
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 309 of 488 Pageid#:
                                     3842
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 310 of 488 Pageid#:
                                     3843
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 311 of 488 Pageid#:
                                     3844
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 312 of 488 Pageid#:
                                     3845
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 313 of 488 Pageid#:
                                     3846
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 314 of 488 Pageid#:
                                     3847
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 315 of 488 Pageid#:
                                     3848
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 316 of 488 Pageid#:
                                     3849
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 317 of 488 Pageid#:
                                     3850
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 318 of 488 Pageid#:
                                     3851
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 319 of 488 Pageid#:
                                     3852
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 320 of 488 Pageid#:
                                     3853
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 321 of 488 Pageid#:
                                     3854
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 322 of 488 Pageid#:
                                     3855
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 323 of 488 Pageid#:
                                     3856
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 324 of 488 Pageid#:
                                     3857
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 325 of 488 Pageid#:
                                     3858
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 326 of 488 Pageid#:
                                     3859
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 327 of 488 Pageid#:
                                     3860
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 328 of 488 Pageid#:
                                     3861
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 329 of 488 Pageid#:
                                     3862
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 330 of 488 Pageid#:
                                     3863
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 331 of 488 Pageid#:
                                     3864
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 332 of 488 Pageid#:
                                     3865
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 333 of 488 Pageid#:
                                     3866
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 334 of 488 Pageid#:
                                     3867
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 335 of 488 Pageid#:
                                     3868
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 336 of 488 Pageid#:
                                     3869
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 337 of 488 Pageid#:
                                     3870
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 338 of 488 Pageid#:
                                     3871
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 339 of 488 Pageid#:
                                     3872
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 340 of 488 Pageid#:
                                     3873
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 341 of 488 Pageid#:
                                     3874
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 342 of 488 Pageid#:
                                     3875
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 343 of 488 Pageid#:
                                     3876
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 344 of 488 Pageid#:
                                     3877
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 345 of 488 Pageid#:
                                     3878
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 346 of 488 Pageid#:
                                     3879
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 347 of 488 Pageid#:
                                     3880
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 348 of 488 Pageid#:
                                     3881
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 349 of 488 Pageid#:
                                     3882
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 350 of 488 Pageid#:
                                     3883
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 351 of 488 Pageid#:
                                     3884
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 352 of 488 Pageid#:
                                     3885
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 353 of 488 Pageid#:
                                     3886
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 354 of 488 Pageid#:
                                     3887
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 355 of 488 Pageid#:
                                     3888
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 356 of 488 Pageid#:
                                     3889
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 357 of 488 Pageid#:
                                     3890
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 358 of 488 Pageid#:
                                     3891
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 359 of 488 Pageid#:
                                     3892
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 360 of 488 Pageid#:
                                     3893
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 361 of 488 Pageid#:
                                     3894
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 362 of 488 Pageid#:
                                     3895
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 363 of 488 Pageid#:
                                     3896
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 364 of 488 Pageid#:
                                     3897
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 365 of 488 Pageid#:
                                     3898
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 366 of 488 Pageid#:
                                     3899
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 367 of 488 Pageid#:
                                     3900
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 368 of 488 Pageid#:
                                     3901
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 369 of 488 Pageid#:
                                     3902
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 370 of 488 Pageid#:
                                     3903
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 371 of 488 Pageid#:
                                     3904
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 372 of 488 Pageid#:
                                     3905
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 373 of 488 Pageid#:
                                     3906
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 374 of 488 Pageid#:
                                     3907
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 375 of 488 Pageid#:
                                     3908
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 376 of 488 Pageid#:
                                     3909
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 377 of 488 Pageid#:
                                     3910
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 378 of 488 Pageid#:
                                     3911
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 379 of 488 Pageid#:
                                     3912
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 380 of 488 Pageid#:
                                     3913
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 381 of 488 Pageid#:
                                     3914
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 382 of 488 Pageid#:
                                     3915
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 383 of 488 Pageid#:
                                     3916
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 384 of 488 Pageid#:
                                     3917
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 385 of 488 Pageid#:
                                     3918
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 386 of 488 Pageid#:
                                     3919
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 387 of 488 Pageid#:
                                     3920
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 388 of 488 Pageid#:
                                     3921
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 389 of 488 Pageid#:
                                     3922
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 390 of 488 Pageid#:
                                     3923
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 391 of 488 Pageid#:
                                     3924
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 392 of 488 Pageid#:
                                     3925
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 393 of 488 Pageid#:
                                     3926
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 394 of 488 Pageid#:
                                     3927
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 395 of 488 Pageid#:
                                     3928
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 396 of 488 Pageid#:
                                     3929
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 397 of 488 Pageid#:
                                     3930
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 398 of 488 Pageid#:
                                     3931
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 399 of 488 Pageid#:
                                     3932
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 400 of 488 Pageid#:
                                     3933




                      Exhibit
                        6
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 401 of 488 Pageid#:
                                           3934

       Generated on: This page was generated by TSDR on 2020-03-16 13:59:55 EDT
                 Mark: CFF




  US Serial Number: 77453685                                                        Application Filing Apr. 21, 2008
                                                                                                Date:
     US Registration 3920131                                                       Registration Date: Feb. 15, 2011
           Number:
             Register: Principal
           Mark Type: Certification Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.


               Status: A Sections 8 and 15 combined declaration has been accepted and acknowledged.
         Status Date: Sep. 09, 2016
    Publication Date: Oct. 07, 2008                                                        Notice of Sep. 28, 2010
                                                                                     Allowance Date:



                                                                   Mark Information
          Mark Literal CFF
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:
         Certification The certification mark, as used by persons authorized by the certifier, certifies that the goods and/or services provided have met the
          Statement: standards for providing forensic accounting services

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: forensic accounting services
         International                                                                  U.S Class(es): B - Primary Class
            Class(es):
        Class Status: ACTIVE
                Basis: 1(a)
            First Use: Jul. 11, 2008                                               Use in Commerce: Jul. 11, 2008

                                                       Basis Information (Case Level)
            Filed Use: No                                                              Currently Use: Yes
            Filed ITU: Yes                                                              Currently ITU: No
            Filed 44D: No                                                               Currently 44E: No
            Filed 44E: No                                                              Currently 66A: No
            Filed 66A: No                                                         Currently No Basis: No
      Filed No Basis: No

                                                       Current Owner(s) Information
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 402 of 488 Pageid#:
                                          3935

          Owner Name: American Institute of Certified Public Accountants
     Owner Address: 1345 Avenue of the Americas
                    New York, NEW YORK UNITED STATES 10105
   Legal Entity Type: NON-PROFIT CORPORATION                                      State or Country DISTRICT OF COLUMBIA
                                                                                 Where Organized:

                                             Attorney/Correspondence Information
                                                                           Attorney of Record
     Attorney Name: William H. Brewster                                           Docket Number: 0835963
    Attorney Primary tmadmin@kilpatricktownsend.com                                 Attorney Email Yes
     Email Address:                                                                    Authorized:
                                                                            Correspondent
     Correspondent William H. Brewster
     Name/Address: KILPATRICK TOWNSEND & STOCKTON LLP
                   1100 PEACHTREE STREET, SUITE 2800
                   ATLANTA, GEORGIA UNITED STATES 30309-4528
                Phone: 404-815-6500                                                             Fax: 404-815-6555
   Correspondent e- tmadmin@kilpatricktownsend.com                               Correspondent e- Yes
              mail:                                                               mail Authorized:
                                                              Domestic Representative - Not Found

                                                              Prosecution History
                                                                                                                            Proceeding
   Date                Description
                                                                                                                            Number
Feb. 15, 2020      COURTESY REMINDER - SEC. 8 (10-YR)/SEC. 9 E-MAILED
Oct. 30, 2019      APPLICANT/CORRESPONDENCE CHANGES (NON-RESPONSIVE) ENTERED                                              88888
Oct. 30, 2019      TEAS CHANGE OF OWNER ADDRESS RECEIVED
Sep. 09, 2016      NOTICE OF ACCEPTANCE OF SEC. 8 & 15 - E-MAILED
Sep. 09, 2016      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.                                                     81878
Sep. 08, 2016      CASE ASSIGNED TO POST REGISTRATION PARALEGAL                                                           81878
Aug. 25, 2016      TEAS SECTION 8 & 15 RECEIVED
Feb. 15, 2016      COURTESY REMINDER - SEC. 8 (6-YR) E-MAILED
Sep. 21, 2012      TEAS CHANGE OF CORRESPONDENCE RECEIVED
Mar. 22, 2012      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Mar. 22, 2012      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Feb. 15, 2011      REGISTERED-PRINCIPAL REGISTER
Jan. 08, 2011      NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED
Jan. 07, 2011      LAW OFFICE REGISTRATION REVIEW COMPLETED                                                               74221
Jan. 07, 2011      ASSIGNED TO LIE                                                                                        74221
Dec. 14, 2010      ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED
Nov. 23, 2010      STATEMENT OF USE PROCESSING COMPLETE                                                                   76874
Nov. 10, 2010      USE AMENDMENT FILED                                                                                    76874
Nov. 23, 2010      CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                               76874
Nov. 10, 2010      TEAS STATEMENT OF USE RECEIVED
Nov. 10, 2010      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Nov. 10, 2010      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Sep. 28, 2010      NOA E-MAILED - SOU REQUIRED FROM APPLICANT
Aug. 13, 2010      TTAB RELEASE CASE TO TRADEMARKS                                                                        186848
Aug. 13, 2010      OPPOSITION TERMINATED NO. 999999                                                                       186848
Aug. 12, 2010      OPPOSITION DISMISSED NO. 999999                                                                        186848
Oct. 21, 2008      ATTORNEY/DOM.REP.REVOKED AND/OR APPOINTED
Oct. 21, 2008      TEAS REVOKE/APP/CHANGE ADDR OF ATTY/DOM REP RECEIVED
Oct. 07, 2008      OPPOSITION INSTITUTED NO. 999999                                                                       186848
Oct. 07, 2008      OPPOSITION PAPERS RECEIVED AT TTAB
Oct. 07, 2008      PUBLISHED FOR OPPOSITION
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 403 of 488 Pageid#:
                                            3936

Sep. 17, 2008      NOTICE OF PUBLICATION
Aug. 29, 2008      LAW OFFICE PUBLICATION REVIEW COMPLETED                                                                                      76243
Aug. 29, 2008      ASSIGNED TO LIE                                                                                                              76243
Aug. 20, 2008      APPROVED FOR PUB - PRINCIPAL REGISTER
Aug. 19, 2008      EXAMINER'S AMENDMENT ENTERED                                                                                                 88888
Aug. 19, 2008      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                                                                                 6328
Aug. 19, 2008      EXAMINERS AMENDMENT E-MAILED                                                                                                 6328
Aug. 19, 2008      EXAMINERS AMENDMENT -WRITTEN                                                                                                 83694
Aug. 18, 2008      NOTIFICATION OF PRIORITY ACTION E-MAILED                                                                                     6326
Aug. 18, 2008      PRIORITY ACTION E-MAILED                                                                                                     6326
Aug. 18, 2008      PRIORITY ACTION WRITTEN                                                                                                      83694
Aug. 04, 2008      ASSIGNED TO EXAMINER                                                                                                         83694
Apr. 24, 2008      NEW APPLICATION ENTERED IN TRAM

                                               TM Staff and Location Information
                                                                   TM Staff Information - None
                                                                             File Location
    Current Location: TMEG LAW OFFICE 108                                        Date in Location: Sep. 09, 2016

                                                                     Proceedings
    Summary
          Number of 1
        Proceedings:

                                                     Type of Proceeding: Opposition

            Proceeding 91186848                                                         Filing Date: Oct 07, 2008
              Number:
                Status: Terminated                                                     Status Date: Aug 13, 2010
           Interlocutory ANN LINNEHAN VOGLER
               Attorney:
                                                                             Defendant
                Name: American Institute of Certified Public Accountants
       Correspondent RACHEL DOOLEY
            Address: WILLKIE FARR & GALLAGHER LLP
                     787 SEVENTH AVENUE, 2ND FLOOR
                     NEW YORK NY UNITED STATES , 10019-6099
    Correspondent e- dclegg@willke.com , bried@willke.com , ipdept@willkie.com
               mail:
Associated marks
                                                                                                                                     Serial        Registration
    Mark                                                            Application Status
                                                                                                                                     Number        Number
CFF                                                              Section 8 and 15 - Accepted and Acknowledged                      77453685     3920131
                                                                             Plaintiff(s)
                Name: National Association of Certified Valuation Analysts
       Correspondent MARGARET NIVER MCGANN
            Address: PARSONS BEHLE & LATIMER
                     201 SOUTH MAIN, SUITE 1800, P.O. BOX 45898
                     SALT LAKE CITY UT UNITED STATES , 84145-0898
    Correspondent e- mmcgann@parsonsbehle.com , ecf@parsonsbehle.com
               mail:
Associated marks
                                                                                                                                     Serial        Registration
    Mark                                                            Application Status
                                                                                                                                     Number        Number
CFFA                                                             Abandoned - Express                                               77507559
                                                                       Prosecution History
    Entry Number            History Text                                                                              Date                    Due Date
1                        FILED AND FEE                                                                              Oct 07, 2008
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 404 of 488 Pageid#:
                                          3937

2              NOTICE AND TRIAL DATES SENT; ANSWER DUE:        Oct 07, 2008   Nov 16, 2008
3              PENDING, INSTITUTED                             Oct 07, 2008
4              ANSWER                                          Nov 14, 2008
5              STIPULATION FOR AN EXTENSION OF TIME            Apr 22, 2009
6              EXTENSION OF TIME GRANTED                       Apr 22, 2009
7              STIPULATION FOR AN EXTENSION OF TIME            Aug 03, 2009
8              EXTENSION OF TIME GRANTED                       Aug 03, 2009
9              D'S MOT FOR EXTEN. OF TIME W/ CONSENT           Dec 10, 2009
10             EXTENSION OF TIME GRANTED                       Dec 14, 2009
11             STIPULATION FOR AN EXTENSION OF TIME            Jan 25, 2010
12             BOARD'S COMMUNICATION                           Jan 28, 2010
13             P'S RESPONSE TO BOARD ORDER/INQUIRY             Feb 01, 2010
14             P'S RESPONSE TO BOARD ORDER/INQUIRY             Feb 01, 2010
15             EXTENSION OF TIME GRANTED                       Feb 03, 2010
16             STIPULATION FOR AN EXTENSION OF TIME            Mar 02, 2010
17             EXTENSION OF TIME GRANTED                       Mar 05, 2010
18             P'S MOT TO SUSP PEND SETLMT NEGOTIATIONS        Apr 06, 2010
19             EXTENSION OF TIME GRANTED                       Apr 14, 2010
20             P'S MOT FOR EXTEN. OF TIME W/ CONSENT           May 25, 2010
21             P'S MOT FOR EXTEN. OF TIME W/ CONSENT           May 25, 2010
22             TRIAL DATES RESET                               Jun 04, 2010
23             STIPULATION FOR AN EXTENSION OF TIME            Jul 12, 2010
24             SUSPENDED                                       Jul 15, 2010
25             WITHDRAWAL OF OPPOSITION                        Aug 04, 2010
26             BD'S DECISION: DISMISSED W/O PREJUDICE          Aug 12, 2010
27             TERMINATED                                      Aug 13, 2010
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 405 of 488 Pageid#:
                                            3938

From:                     TMOfficialNotices@USPTO.GOV
Sent:                     Saturday, February 15, 2020 01:04 AM
To:                       tmadmin@kilpatricktownsend.com
Subject:                  Official USPTO Courtesy Reminder: Trademark Registration Maintenance Documents Must Be Filed Before Deadline for U.S. Trademark
                          Registration No. 3920131 CFF
USPTO COURTESY REMINDER

TRADEMARK REGISTRATION MAINTENANCE DOCUMENT(S) UNDER SECTIONS 8 AND 9 MUST BE FILED BEFORE
DEADLINE OR REGISTRATION WILL BE CANCELLED/EXPIRED

U.S. Application Serial No. 77453685
U.S. Registration No. 3920131
U.S. Registration Date: February 15, 2011
Mark: CFF
Owner: American Institute of Certified Public Accountants can Institute of Certified Public Accountants
Docket/Reference No. 0835963

Issue Date: February 15, 2020

Required submission. The owner of the trademark registration must file a Declaration of Use and/or Excusable Nonuse and an Application for Renewal under Sections
8 and 9 of the Trademark Act (Sections 8 and 9 Declaration) between now and February 16, 2021. For an additional fee, the owner can file within the 6-month grace period
that ends on August 16, 2021.

If ownership of the registration or the owner's name has changed, the owner can use the Electronic Trademark Assignment System (ETAS) to record the
change. More information on changes of ownership/owner name is available on the USPTO website.

Click here for more information about maintaining a trademark registration.

Proof of Use Audit. The USPTO is conducting an audit program to promote the accuracy and integrity of the trademark register. If a registration is selected for audit, the
owner will be required to submit proof of use for additional goods/services for which use is claimed in a Section 8 Declaration. Detailed information about the program is
available on the Proof of Use Audit Program webpage.

Determination of time of receipt by USPTO. Correspondence transmitted through the Trademark Electronic Application System (TEAS) is considered filed on the date the
USPTO receives the transmission in Eastern Time.

If the owner fails to file a timely Sections 8 and 9 Declaration the registration will be CANCELLED/EXPIRED and cannot be reinstated.

This reminder notice is being sent only as a courtesy to trademark owners who maintain a current email address with the USPTO. Failure by the USPTO to send a
reminder or non-receipt of a reminder does not excuse a trademark owner from meeting the statutory obligations for maintaining a registration.

Foreign-domiciled owners must have a U.S.-licensed attorney represent them at the USPTO in any post-registration filing.

Beware of misleading notices sent by private companies about registrations. Private companies not associated with the USPTO use public information available in
trademark registrations to mail and email trademark-related offers and notices - most of which require fees. All official USPTO correspondence will only be emailed from the
domain "@uspto.gov."

Direct questions about this notice to the Trademark Assistance Center at 1-800-786-9199 (select option 1) or TrademarkAssistanceCenter@uspto.gov.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 406 of 488 Pageid#:
                                     3939

                                     Change Of Owner's Address


                                 The table below presents the data as entered.

                   Input Field                                                Entered
 SERIAL NUMBER                               77453685
 REGISTRATION NUMBER                         3920131
 LAW OFFICE ASSIGNED                         LAW OFFICE 108
 MARK SECTION
 MARK                                        CFF (see, https://tmng-al.uspto.gov/resting2/api/img/77453685/large)
 OWNER SECTION (current)
 NAME                                        American Institute of Certified Public Accountants
 STREET                                      1211 Avenue of the Americas
 CITY                                        New York
 STATE                                       New York
 ZIP/POSTAL CODE                             10036
 COUNTRY                                     US
 NEW OWNER ADDRESS
 STREET                                      1345 Avenue of the Americas
 CITY                                        New York
 STATE                                       New York
 ZIP/POSTAL CODE                             10105
 COUNTRY                                     United States
 MISSING ATTORNEY INFO                       YES
 SIGNATURE SECTION
 SIGNATURE                                   /Maria Baratta/
 SIGNATORY NAME                              Olivia Maria Baratta
 SIGNATORY DATE                              10/30/2019
 SIGNATORY POSITION                          Attorney of Record, Georgia Bar Member
 FILING INFORMATION SECTION
 SUBMIT DATE                                 Wed Oct 30 14:20:03 EDT 2019
                                             USPTO/COA-XX.XXX.XX.XXX-2
                                             0191030142003660962-78924
                                             690-70057306d7ee4dca6b93d
 TEAS STAMP
                                             4b53e86cb117209a66561d87d
                                             8c555fb3efa665c1bc8-N/A-N
                                             /A-20191028111151514618
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 407 of 488 Pageid#:
                                            3940


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Friday, September 9, 2016 11:00 PM
To:                        tmadmin@kilpatricktownsend.com
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 3920131: CFF: Docket/Reference No. 0835963

Serial Number: 77453685
Registration Number: 3920131
Registration Date: Feb 15, 2011
Mark: CFF
Owner: American Institute of Certified Public A etc.



                                                                                 Sep 9, 2016

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below for the remainder of the ten-year period, calculated from the registration date, unless canceled by
an order of the Commissioner for Trademarks or a Federal Court.

Class(es):
B




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***The USPTO WILL NOT SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE REGISTRANT SHOULD CONTACT THE USPTO ONE
YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=77453685. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 408 of 488 Pageid#:
                                              3941

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 07/31/2018)


                       Combined Declaration of Use and Incontestability under Sections 8 & 15


                                                     The table below presents the data as entered.

                                     Input Field                                                              Entered
             REGISTRATION NUMBER                                 3920131
             REGISTRATION DATE                                   02/15/2011
             SERIAL NUMBER                                       77453685
             MARK SECTION
             MARK                                                CFF
             ATTORNEY SECTION (current)
             NAME                                                William H. Brewster
             FIRM NAME                                           KILPATRICK TOWNSEND & STOCKTON LLP
             STREET                                              1100 PEACHTREE STREET, SUITE 2800
             CITY                                                ATLANTA
             STATE                                               Georgia
             POSTAL CODE                                         30309-4528
             COUNTRY                                             United States
             PHONE                                               404-815-6500
             FAX                                                 404-815-6555
             EMAIL                                               tmadmin@kilpatricktownsend.com
             AUTHORIZED TO COMMUNICATE VIA E-
             MAIL
                                                                 Yes

             ATTORNEY SECTION (proposed)
             NAME                                                William H. Brewster
             FIRM NAME                                           KILPATRICK TOWNSEND & STOCKTON LLP
             STREET                                              1100 PEACHTREE STREET, SUITE 2800
             CITY                                                ATLANTA
             STATE                                               Georgia
             POSTAL CODE                                         30309-4528
             COUNTRY                                             United States
             PHONE                                               404-815-6500
             FAX                                                 404-815-6555
             EMAIL                                               tmadmin@kilpatricktownsend.com
             AUTHORIZED TO COMMUNICATE VIA E-
             MAIL
                                                                 Yes

             DOCKET/REFERENCE NUMBER                             0835963
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 409 of 488 Pageid#:
                                     3942

                                    Olivia Maria Baratta, Tywanda Harris Lord, Jaclyn T. Shanks, Rhojanda Thomas,
 OTHER APPOINTED ATTORNEY
                                    and the attorneys of Kilpatrick Townsend & Stockton LLP
 CORRESPONDENCE SECTION (current)
 NAME                               William H. Brewster
 FIRM NAME                          KILPATRICK TOWNSEND & STOCKTON LLP
 STREET                             1100 PEACHTREE STREET, SUITE 2800
 CITY                               ATLANTA
 STATE                              Georgia
 POSTAL CODE                        30309-4528
 COUNTRY                            United States
 PHONE                              404-815-6500
 FAX                                404-815-6555
 EMAIL                              tmadmin@kilpatricktownsend.com
 AUTHORIZED TO COMMUNICATE VIA E-
                                    Yes
 MAIL

 CORRESPONDENCE SECTION (proposed)
 NAME                               William H. Brewster
 FIRM NAME                          KILPATRICK TOWNSEND & STOCKTON LLP
 STREET                             1100 PEACHTREE STREET, SUITE 2800
 CITY                               ATLANTA
 STATE                              Georgia
 POSTAL CODE                        30309-4528
 COUNTRY                            United States
 PHONE                              404-815-6500
 FAX                                404-815-6555
 EMAIL                              tmadmin@kilpatricktownsend.com
 AUTHORIZED TO COMMUNICATE VIA E-
 MAIL
                                    Yes

 DOCKET/REFERENCE NUMBER            0835963
 GOODS AND/OR SERVICES SECTION
 INTERNATIONAL CLASS                B
 GOODS OR SERVICES                  forensic accounting services
   SPECIMEN FILE NAME(S)

   ORIGINAL PDF FILE                SPN0-38101192130-20160824155407981760_._CFF_spec_01.pdf
   CONVERTED PDF FILE(S)
   (1 page)
                                    \\TICRS\EXPORT16\IMAGEOUT16\774\536\77453685\xml3\8150002.JPG

                                    SPN0-38101192130-20160824155407981760_._CFF_Eligibility_Requirements_-
   ORIGINAL PDF FILE
                                    _AICPA.pdf
   CONVERTED PDF FILE(S)
                                    \\TICRS\EXPORT16\IMAGEOUT16\774\536\77453685\xml3\8150003.JPG
   (1 page)

 SPECIMEN DESCRIPTION               web site pages
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 410 of 488 Pageid#:
                                     3943

                                  The certification mark, as used by persons authorized by the certifier, certifies that
                                  the goods and/or services provided have met the standards for providing forensic
                                  accounting services. The owner is exercising legitimate control over the use of the
                                  mark in commerce. The mark owner is not engaged in the production or
 MISCELLANEOUS STATEMENT
                                  marketing of the goods or services to which the mark is applied, except to
                                  advertise or promote recognition of the certification program or of the
                                  goods/services that meet the certification standards of the mark owner. The
                                  standards were previously submitted and have not changed.
 OWNER SECTION (current)
 NAME                             American Institute of Certified Public Accountants
 STREET                           1211 Avenue of the Americas
 CITY                             New York
 STATE                            New York
 ZIP/POSTAL CODE                  10036
 COUNTRY                          United States
 LEGAL ENTITY SECTION (current)
 TYPE                             NON-PROFIT CORPORATION
 STATE/COUNTRY WHERE LEGALLY
                                  District of Columbia
 ORGANIZED

 PAYMENT SECTION
 NUMBER OF CLASSES                1
 NUMBER OF CLASSES PAID           1
 SUBTOTAL AMOUNT                  300
 TOTAL FEE PAID                   300
 SIGNATURE SECTION
 SIGNATURE                        /Teighlor March/
 SIGNATORY'S NAME                 Teighlor S. March
 SIGNATORY'S POSITION             Assistant General Counsel
 DATE SIGNED                      08/25/2016
 PAYMENT METHOD                   CC
                                        FILING INFORMATION
 SUBMIT DATE                      Thu Aug 25 10:22:09 EDT 2016
                                  USPTO/S08N15-XX.XXX.XXX.X
                                  XX-20160825102209575383-3
                                  920131-5500f714dcb812f925
 TEAS STAMP                       f1997a3bdbad5b0dc9cae11ec
                                  62dfd9ffe3ef4236b355c-CC-
                                  12644-2016082415540798176
                                  0
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 411 of 488 Pageid#:
                                              3944

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1583 (Rev 05/2006)
OMB No. 0651-0055 (Exp 07/31/2018)




                   Combined Declaration of Use and Incontestability under Sections 8 & 15
To the Commissioner for Trademarks:

REGISTRATION NUMBER: 3920131
REGISTRATION DATE: 02/15/2011

MARK: CFF (see, )

The owner, American Institute of Certified Public Accountants, NON-PROFIT CORPORATION legally organized under the laws of District of
Columbia, having an address of
     1211 Avenue of the Americas
     New York, New York 10036
     United States
is filing a Combined Declaration of Use and Incontestability under Sections 8 & 15.

For International Class B, the mark is in use in commerce on or in connection with all of the goods/all of the services, or to indicate membership
in the collective membership organization, listed in the existing registration for this specific class: forensic accounting services; and the mark has
been continuously used in commerce for five (5) consecutive years after the date of registration, or the date of publication under Section 12(c),
and is still in use in commerce on or in connection with all goods/all services, or to indicate membership in the collective membership
organization, listed in the existing registration for this class. Also, no final decision adverse to the owner's claim of ownership of such mark for
those goods/services, or to indicate membership in the collective membership organization, exists, or to the owner's right to register the same or
to keep the same on the register; and, no proceeding involving said rights pending and not disposed of in either the U.S. Patent and Trademark
Office or the courts exists.

The owner is submitting one(or more) specimen(s) for this class showing the mark as used in commerce on or in connection with any item in this
class, consisting of a(n) web site pages.

Original PDF file:
SPN0-38101192130-20160824155407981760_._CFF_spec_01.pdf
Converted PDF file(s) (1 page)
Specimen File1
Original PDF file:
SPN0-38101192130-20160824155407981760_._CFF_Eligibility_Requirements_-_AICPA.pdf
Converted PDF file(s) (1 page)
Specimen File1

MISCELLANEOUS STATEMENTS
The certification mark, as used by persons authorized by the certifier, certifies that the goods and/or services provided have met the standards for
providing forensic accounting services. The owner is exercising legitimate control over the use of the mark in commerce. The mark owner is not
engaged in the production or marketing of the goods or services to which the mark is applied, except to advertise or promote recognition of the
certification program or of the goods/services that meet the certification standards of the mark owner. The standards were previously submitted
and have not changed.

The registrant's current Attorney Information: William H. Brewster of KILPATRICK TOWNSEND & STOCKTON LLP
   1100 PEACHTREE STREET, SUITE 2800
   ATLANTA, Georgia 30309-4528
   United States


The registrant's proposed Attorney Information: William H. Brewster of KILPATRICK TOWNSEND & STOCKTON LLP
   1100 PEACHTREE STREET, SUITE 2800
   ATLANTA, Georgia 30309-4528
   United States
The docket/reference number is 0835963.
The Other Appointed Attorney(s): Olivia Maria Baratta, Tywanda Harris Lord, Jaclyn T. Shanks, Rhojanda Thomas, and the attorneys of
      Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 412 of 488 Pageid#:
                                           3945

Kilpatrick Townsend & Stockton LLP.

The phone number is 404-815-6500.

The fax number is 404-815-6555.

The email address is tmadmin@kilpatricktownsend.com.
The registrant's current Correspondence Information: William H. Brewster of KILPATRICK TOWNSEND & STOCKTON LLP
   1100 PEACHTREE STREET, SUITE 2800
   ATLANTA, Georgia 30309-4528
   United States


The registrant's proposed Correspondence Information: William H. Brewster of KILPATRICK TOWNSEND & STOCKTON LLP
   1100 PEACHTREE STREET, SUITE 2800
   ATLANTA, Georgia 30309-4528
   United States
The docket/reference number is 0835963.


The phone number is 404-815-6500.

The fax number is 404-815-6555.

The email address is tmadmin@kilpatricktownsend.com.

A fee payment in the amount of $300 will be submitted with the form, representing payment for 1 class(es), plus any additional grace period fee,
if necessary.

                                                                   Declaration


The mark is in use in commerce on or in connection with the goods/services, or to indicate membership in the collective membership
organization, identified above, as evidenced by the attached specimen(s) showing the mark as used in commerce. The mark has been in
continuous use in commerce for five consecutive years after the date of registration, or the date of publication under 15 U.S.C. § 1062(c), and is
still in use in commerce on or in connection with all goods/services, or to indicate membership in the collective membership organization, listed
in the existing registration. There has been no final decision adverse to the owner's claim of ownership of such mark for such goods/services, or
to indicate membership in the collective membership organization, or to the owner's right to register the same or to keep the same on the
register; and there is no proceeding involving said rights pending and not disposed of either in the United States Patent and Trademark Office or
in a court.

The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001,
and that such willful false statements and the like may jeopardize the validity of this submission, declares that all statements made of his/her own
knowledge are true and all statements made on information and belief are believed to be true.


Signature: /Teighlor March/     Date: 08/25/2016
Signatory's Name: Teighlor S. March
Signatory's Position: Assistant General Counsel

Mailing Address (current):
 KILPATRICK TOWNSEND & STOCKTON LLP
 1100 PEACHTREE STREET, SUITE 2800
 ATLANTA, Georgia 30309-4528

Mailing Address (proposed):
 KILPATRICK TOWNSEND & STOCKTON LLP
 1100 PEACHTREE STREET, SUITE 2800
 ATLANTA, Georgia 30309-4528

Serial Number: 77453685
    Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 413 of 488 Pageid#:
                                         3946

Internet Transmission Date: Thu Aug 25 10:22:09 EDT 2016
TEAS Stamp: USPTO/S08N15-XX.XXX.XXX.XXX-201608251022
09575383-3920131-5500f714dcb812f925f1997
a3bdbad5b0dc9cae11ec62dfd9ffe3ef4236b355
c-CC-12644-20160824155407981760
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 414 of 488 Pageid#:
                                     3947
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 415 of 488 Pageid#:
                                     3948
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 416 of 488 Pageid#:
                                     3949
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 417 of 488 Pageid#:
                                     3950
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 418 of 488 Pageid#:
                                     3951
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 419 of 488 Pageid#:
                                            3952


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, February 15, 2016 01:04 AM
To:                        tmadmin@kilpatricktownsend.com
Subject:                   Official USPTO Courtesy Reminder of Required Trademark Registration Maintenance Filing Under Section 8: U.S. Trademark RN 3920131: CFF

U.S. Serial Number: 77453685
U.S. Registration Number: 3920131
U.S. Registration Date: Feb 15, 2011
Mark: CFF
Owner: American Institute of Certified Public Accountants can Institute of Certified Public Accountants


                                                                                 Feb 15, 2016

                                         U.S. PATENT AND TRADEMARK OFFICE ("USPTO") COURTESY REMINDER
                                    OF REQUIRED TRADEMARK REGISTRATION MAINTENANCE FILING UNDER SECTION 8


WARNING: Your trademark registration will be CANCELLED if you do not file the required document below during the specified statutory time period.

The above-identified registration registered on Feb 15, 2011. Therefore, the owner of the registration must file a Declaration of Use and/or Excusable Nonuse under §8 of the
Trademark Act anytime between now and Feb 15, 2017. For an additional fee, the owner may file the declaration within the six-month grace period that ends on Aug 15, 2017.
See 15 U.S.C. §1058. The current fee for filing a declaration under §8 is $100 per class, and the additional fee for filing during the six-month grace period is $100 per class. 37
C.F.R. §2.6.

If the registration meets the requirements of §15 of the Trademark Act, the owner may additionally file an optional Declaration of Incontestability under §15. See 15 U.S.C.
§1065. The current fee for filing a declaration under §15 is $200 per class. 37 C.F.R. §2.6.

To expedite processing, the owner is encouraged to file through the USPTO's official website using the Trademark Electronic Application System ("TEAS"). Official forms for
filing Declarations of Use and/or Excusable Nonuse under §8 and Combined Declarations of Use and Incontestability under §§8 and 15 are available through TEAS at
http://www.uspto.gov/trademarks/teas/reg_maintain.jsp.

For information regarding how to record ownership documents such as assignments, name changes and mergers, please see TMEP §503. To expedite recordation, the owner
is encouraged to file requests for recordation through the Electronic Trademark Assignment System ("ETAS") at http://etas.uspto.gov.

For further information regarding the maintenance of a trademark registration, including future maintenance filings, please consult the USPTO website at
http://www.uspto.gov/trademarks/process/maintain/prfaq.jsp.

This reminder notice is being sent only as a courtesy to those trademark owners who have authorized e-mail communication and maintain a current e-mail address with the
USPTO. Failure by the USPTO to send a reminder or non-receipt of a reminder does not excuse a trademark owner from meeting the statutory obligations for maintaining a
trademark registration. If a registration is cancelled and/or expired due to the failure to timely file required maintenance documents, it cannot be reinstated or revived.

To check the status of this registration, go to http://tsdr.uspto.gov/#caseNumber=77453685&caseType=SERIAL_NO&searchType=statusSearch or contact the Trademark
Assistance Center at 1-800-786-9199.

Beware of Unofficial Trademark Solicitations: Please be aware that private companies not associated with the USPTO often use trademark registration information from the
USPTO's database to mail or e-mail trademark-related solicitations. This is the only official reminder that you will receive from the USPTO about your upcoming required
maintenance filing. For additional information about these private solicitations, please visit the USPTO website at http://www.uspto.gov/trademarks/solicitation_warnings.jsp.

In order to be eligible for future e-mail reminders of maintenance filings, please remember to authorize e-mail communication when filing your maintenance documents through
TEAS and ensure that you maintain a current e-mail address with the USPTO.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 420 of 488 Pageid#:
                                     3953

                                Change Of Correspondence Address


                                The table below presents the data as entered.

                  Input Field                                              Entered
 SERIAL NUMBER                              77453685
 REGISTRATION NUMBER                        3920131
 LAW OFFICE ASSIGNED                        LAW OFFICE 108
 MARK SECTION
 MARK                                       CFF
 CORRESPONDENCE SECTION (current)
                                            WILLIAM H. BREWSTER
                                            1100 PEACHTREE STREET, SUITE 2800
                                            ATLANTA Georgia 30309-4528
 ORIGINAL ADDRESS                           US
                                            404-815-6500
                                            404-815-6555
                                            tmdmin@kiltown.com
 NEW CORRESPONDENCE ADDRESS


                                            KILPATRICK TOWNSEND & STOCKTON LLP
                                            1100 PEACHTREE STREET, SUITE 2800
                                            ATLANTA
                                            Georgia
 NEW ADDRESS
                                            United States
                                            30309-4528
                                            404-815-6500
                                            404-815-6555
                                            tmadmin@kilpatricktownsend.com
 AUTHORIZED TO COMMUNICATE VIA E-MAIL       YES
 SIGNATURE SECTION
 SIGNATURE                                  /Jaclyn T. Shank/
 SIGNATORY NAME                             Jaclyn T. Shanks
 SIGNATORY DATE                             09/21/2012
 SIGNATORY POSITION                         Attorney of record, Georgia bar member
 AUTHORIZED SIGNATORY                       YES
 FILING INFORMATION SECTION
 SUBMIT DATE                                Fri Sep 21 11:50:44 EDT 2012
                                            USPTO/CCA-XX.X.XX.XXX-201
                                            20921115044532783-7469446
 TEAS STAMP                                 1-490be48e32a918456eda53e
                                            9be5f5064c4-N/A-N/A-20120
                                            921104346883654
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 421 of 488 Pageid#:
                                              3954

PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)


                       Revocation of Attorney/Domestic Representative and/or Appointment of
                                         Attorney/Domestic Representative


                                                  The table below presents the data as entered.

                                    Input Field                                                   Entered
             SERIAL NUMBER                                    77453685
             REGISTRATION NUMBER                              3920131
             LAW OFFICE ASSIGNED                              LAW OFFICE 108
             MARK SECTION
             MARK                                             CFF
             ATTORNEY SECTION
                                                              DAVID W. SAR
                                                              PO BOX 26000
                                                              GREENSBORO North Carolina (NC) 27420-6000
             ORIGINAL ADDRESS                                 US
                                                              336-373-8850
                                                              336-232-9075
                                                              dsar@brookspierce.com
             NEW ATTORNEY ADDRESS
                                                              By submission of this request, the undersigned REVOKES the power of
             STATEMENT TEXT                                   attorney currently of record, as listed above, and hereby APPOINTS the
                                                              following new attorney:
             NAME                                             William H. Brewster
             FIRM NAME                                        Kilpatrick Townsend & Stockton LLP
             STREET                                           1100 Peachtree Street, Suite 2800
             CITY                                             Atlanta
             STATE                                            Georgia
             COUNTRY                                          United States
             POSTAL/ZIP CODE                                  30309-4528
             PHONE                                            404-815-6500
             FAX                                              404-815-6555
             EMAIL                                            tmdmin@kiltown.com
             ATTORNEY AUTHORIZED TO COMMUNICATE VIA
             E-MAIL
                                                              YES

                                                              Olivia Maria Baratta, William M. Bryner, Jaclyn T. Shanks, and the
             NEW OTHER APPOINTED ATTORNEYS
                                                              attoneys of Kilpatrick Townsed & Stockton LLP
             NEW CORRESPONDENCE ADDRESS
             NAME                                             William H. Brewster
             FIRM NAME                                        Kilpatrick Townsend & Stockton LLP
             STREET
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 422 of 488 Pageid#:
                                     3955

 STREET                                 1100 Peachtree Street, Suite 2800
 CITY                                   Atlanta
 STATE                                  Georgia
 COUNTRY                                United States
 POSTAL/ZIP CODE                        30309-4528
 PHONE                                  404-815-6500
 FAX                                    404-815-6555
 EMAIL                                  tmdmin@kiltown.com
 AUTHORIZED TO COMMUNICATE VIA E-MAIL   YES
                                        Olivia Maria Baratta, William M. Bryner, Jaclyn T. Shanks, and the
 OTHER APPOINTED ATTORNEY
                                        attoneys of Kilpatrick Townsed & Stockton LLP
 SIGNATURE SECTION
 SIGNATURE                              /Teighlor S. March/
 SIGNATORY NAME                         Teighlor S. March
 SIGNATORY DATE                         03/23/2012
 SIGNATORY POSITION                     Assistant General Counsel
 SIGNATORY PHONE NUMBER                 /919-402-4804/
 FILING INFORMATION SECTION
 SUBMIT DATE                            Fri Mar 23 10:54:45 EDT 2012
                                        USPTO/RAA-XX.X.XX.XXX-201
                                        20323105445537761-7469446
 TEAS STAMP                             1-490397b51b44bc8bdf3aa0d
                                        6c082c5d2e9-N/A-N/A-20120
                                        322162614171677
         Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 423 of 488 Pageid#:
                                              3956
PTO Form 2196 (Rev 9/2005)
OMB No. 0651-0056 (Exp 9/30/2017)




                       Revocation of Attorney/Domestic Representative and/or Appointment of
                                         Attorney/Domestic Representative
To the Commissioner for Trademarks:
MARK: CFF
SERIAL NUMBER: 77453685
REGISTRATION NUMBER: 3920131

The original attorney
DAVID W. SAR
PO BOX 26000
GREENSBORO North Carolina 27420-6000
US
336-373-8850
336-232-9075
dsar@brookspierce.com

Original Correspondence Address :
DAVID W. SAR
PO BOX 26000
GREENSBORO North Carolina 27420-6000
US
336-373-8850
336-232-9075
dsar@brookspierce.com


By submission of this request, the undersigned REVOKES the power of attorney currently of record, as listed above, and hereby APPOINTS the
following new attorney: In addition, any additional previously-appointed attorneys that are currently listed in the application are replaced with the
new "Other Appointed Attorneys" listed below.

Newly Appointed Attorney:
William H. Brewster
Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street, Suite 2800
Atlanta, Georgia 30309-4528
United States
404-815-6500
404-815-6555
tmdmin@kiltown.com

Other Appointed Attorneys:

Olivia Maria Baratta, William M. Bryner, Jaclyn T. Shanks, and the attoneys of Kilpatrick Townsed & Stockton LLP

The following is to be used as the correspondence address:
William H. Brewster
Kilpatrick Townsend & Stockton LLP
1100 Peachtree Street, Suite 2800
Atlanta, Georgia 30309-4528
United States

404-815-6500
404-815-6555
tmdmin@kiltown.com
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 424 of 488 Pageid#:
                                          3957

Signature: /Teighlor S. March/ Date: 03/23/2012
Signatory's Name: Teighlor S. March
Signatory's Position: Assistant General Counsel
Signatory's Phone Number: /919-402-4804/

Serial Number: 77453685
Internet Transmission Date: Fri Mar 23 10:54:45 EDT 2012
TEAS Stamp: USPTO/RAA-XX.X.XX.XXX-201203231054455377
61-74694461-490397b51b44bc8bdf3aa0d6c082
c5d2e9-N/A-N/A-20120322162614171677
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 425 of 488 Pageid#:
                                     3958
       Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 426 of 488 Pageid#:
                                            3959


From:                       TMOfficialNotices@USPTO.GOV
Sent:                       Saturday, January 8, 2011 00:10 AM
To:                         dsar@brookspierce.com
Subject:                    Trademark Serial Number 77453685 : Official USPTO Notice of Acceptance of Statement of Use


                                                     NOTICE OF ACCEPTANCE OF STATEMENT OF USE

Serial Number: 77-453,685
Mark: CFF(STANDARD CHARACTER MARK)
Owner: American Institute of Certified Public Acc ountants
Reference Number:

The USPTO has accepted the Statement of Use filed for the trademark application identified above. The mark will now register and the registration certificate will issue in due
course barring any extraordinary circumstances.

For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees, please consult the
USPTO website at www.uspto.gov or call the Trademark Assistance Center at 1-800-786-9199.

To check the status of an application, go to http://tarr.uspto.gov/.
        Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 427 of 488 Pageid#:
                                             3960

                                     Trademark Snap Shot Publication & Issue Review Stylesheet
                                         (Table presents the data on Publication & Issue Review Complete)


                                                                OVERVIEW

SERIAL NUMBER                                  77453685                   FILING DATE                                04/21/2008

REG NUMBER                                      0000000                   REG DATE                                      N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                             CERTIFICATION MARK

INTL REG #                                            N/A                 INTL REG DATE                                 N/A

TM ATTORNEY                             CALLAGHAN, BRIAN P                L.O. ASSIGNED                                 108



                                                            PUB INFORMATION

RUN DATE                         01/08/2011

PUB DATE                         10/07/2008

STATUS                           819-SU - REGISTRATION REVIEW COMPLETE

STATUS DATE                      01/07/2011

LITERAL MARK ELEMENT             CFF



DATE ABANDONED                                        N/A                 DATE CANCELLED                                N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                            NO

SECTION 8                                             NO                  SECTION 8 IN PART                             NO

SECTION 15                                            NO                  REPUB 12C                                     N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                  N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS

                 FILED BASIS                                    CURRENT BASIS                                 AMENDED BASIS

1 (a)                          NO             1 (a)                                 YES               1 (a)                   NO

1 (b)                          YES            1 (b)                                  NO               1 (b)                   NO

44D                            NO             44D                                    NO               44D                     NO

44E                            NO             44E                                    NO               44E                     NO

66A                            NO             66A                                    NO

NO BASIS                       NO             NO BASIS                               NO



                                                               MARK DATA

STANDARD CHARACTER MARK                                                   YES

LITERAL MARK ELEMENT                                                      CFF

MARK DRAWING CODE                                                         4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                        NO



                                                 CURRENT OWNER INFORMATION

PARTY TYPE                                                                20-OWNER AT PUBLICATION
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 428 of 488 Pageid#:
                                          3961

NAME                                                            American Institute of Certified Public Accountants

ADDRESS                                                         1211 Avenue of the Americas
                                                                New York, NY 10036

ENTITY                                                          99-NON-PROFIT CORPORATION

CITIZENSHIP                                                     D.C.



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             B

       DESCRIPTION TEXT                                         forensic accounting services




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     B          FIRST USE DATE   07/11/2008        FIRST USE IN          07/11/2008            CLASS STATUS          6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO

CERTIFICATION STATEMENT                                         This certification mark, as intended to be used by authorized persons, is intended to
                                                                certify that the services are being performed by professionals who have met
                                                                established standards of knowledge, experience and competence required to excel
                                                                in forensic accounting.



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                            ENT NUM

01/08/2011                SUNA          E         NOTICE OF ACCEPTANCE OF STATEMENT OF USE E-MAILED                                         032

01/07/2011                REGV          O         LAW OFFICE REGISTRATION REVIEW COMPLETED                                                  031

01/07/2011                 ALIE         A         ASSIGNED TO LIE                                                                           030

12/14/2010                CNPR          P         ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED                                                 029

11/23/2010                SUPC           I        STATEMENT OF USE PROCESSING COMPLETE                                                      028

11/10/2010                 IUAF         S         USE AMENDMENT FILED                                                                       027

11/23/2010                 AITU         A         CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                  026

11/10/2010                 EISU          I        TEAS STATEMENT OF USE RECEIVED                                                            025

11/10/2010                ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         024

11/10/2010                REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     023

09/28/2010                NOAM          E         NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                                022

08/13/2010                TMBN          T         TTAB RELEASE CASE TO TRADEMARKS                                                           021

08/13/2010                 OP.T         T         OPPOSITION TERMINATED NO. 999999                                                          020

08/12/2010                 OP.D         T         OPPOSITION DISMISSED NO. 999999                                                           019

10/21/2008                ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         018

10/21/2008                REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     017

10/07/2008                 OP.I         T         OPPOSITION INSTITUTED NO. 999999                                                          016

10/07/2008                OPPF          T         OPPOSITION PAPERS RECEIVED AT TTAB                                                        015

10/07/2008                PUBO          A         PUBLISHED FOR OPPOSITION                                                                  014

09/17/2008                NPUB          O         NOTICE OF PUBLICATION                                                                     013
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 429 of 488 Pageid#:
                                          3962

08/29/2008                PREV      O      LAW OFFICE PUBLICATION REVIEW COMPLETED                           012

08/29/2008                ALIE      A      ASSIGNED TO LIE                                                   011

08/20/2008                CNSA      P      APPROVED FOR PUB - PRINCIPAL REGISTER                             010

08/19/2008                XAEC      I      EXAMINER'S AMENDMENT ENTERED                                      009

08/19/2008                GNEN      O      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                      008

08/19/2008                GNEA      O      EXAMINERS AMENDMENT E-MAILED                                      007

08/19/2008                CNEA      R      EXAMINERS AMENDMENT -WRITTEN                                      006

08/18/2008                GPRN      O      NOTIFICATION OF PRIORITY ACTION E-MAILED                          005

08/18/2008                GPRA      F      PRIORITY ACTION E-MAILED                                          004

08/18/2008                CPRA      R      PRIORITY ACTION WRITTEN                                           003

08/04/2008                DOCK      D      ASSIGNED TO EXAMINER                                              002

04/24/2008                NWAP      I      NEW APPLICATION ENTERED IN TRAM                                   001



                                 CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                David W. Sar

CORRESPONDENCE ADDRESS                                  DAVID W. SAR
                                                        BROOKS, PIERCE, MCLENDON, HUMPHREY & LEO
                                                        PO BOX 26000
                                                        GREENSBORO, NC 27420-6000

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION

PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    American Institute of Certified Public Accountants

ADDRESS                                                 1211 Avenue of the Americas
                                                        New York, NY 10036

ENTITY                                                  99-NON-PROFIT CORPORATION

CITIZENSHIP                                             D.C.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 430 of 488 Pageid#:
                                     3963
        Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 431 of 488 Pageid#:
                                             3964

                                              Trademark Snap Shot Publication Stylesheet
                                                 (Table presents the data on Publication Approval)


                                                                OVERVIEW

SERIAL NUMBER                                  77453685                   FILING DATE                               04/21/2008

REG NUMBER                                      0000000                   REG DATE                                     N/A

REGISTER                                      PRINCIPAL                   MARK TYPE                            CERTIFICATION MARK

INTL REG #                                            N/A                 INTL REG DATE                                N/A

TM ATTORNEY                             CALLAGHAN, BRIAN P                L.O. ASSIGNED                                108



                                                            PUB INFORMATION

RUN DATE                         12/15/2010

PUB DATE                         10/07/2008

STATUS                           818-SU - STATEMENT OF USE ACCEPTED - APPROVED FOR REGISTRATION

STATUS DATE                      12/14/2010

LITERAL MARK ELEMENT             CFF



DATE ABANDONED                                        N/A                 DATE CANCELLED                               N/A

SECTION 2F                                            NO                  SECTION 2F IN PART                           NO

SECTION 8                                             NO                  SECTION 8 IN PART                            NO

SECTION 15                                            NO                  REPUB 12C                                    N/A

RENEWAL FILED                                         NO                  RENEWAL DATE                                 N/A

DATE AMEND REG                                        N/A



                                                               FILING BASIS

                 FILED BASIS                                    CURRENT BASIS                                AMENDED BASIS

1 (a)                          NO             1 (a)                                  YES             1 (a)                   NO

1 (b)                          YES            1 (b)                                   NO             1 (b)                   NO

44D                            NO             44D                                     NO             44D                     NO

44E                            NO             44E                                     NO             44E                     NO

66A                            NO             66A                                     NO

NO BASIS                       NO             NO BASIS                                NO



                                                                MARK DATA

STANDARD CHARACTER MARK                                                   YES

LITERAL MARK ELEMENT                                                      CFF

MARK DRAWING CODE                                                         4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                        NO



                                                 CURRENT OWNER INFORMATION

PARTY TYPE                                                                20-OWNER AT PUBLICATION
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 432 of 488 Pageid#:
                                          3965

NAME                                                            American Institute of Certified Public Accountants

ADDRESS                                                         1211 Avenue of the Americas
                                                                New York, NY 10036

ENTITY                                                          99-NON-PROFIT CORPORATION

CITIZENSHIP                                                     D.C.



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             B

       DESCRIPTION TEXT                                         forensic accounting services




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     B          FIRST USE DATE   07/11/2008        FIRST USE IN          07/11/2008            CLASS STATUS          6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO

CERTIFICATION STATEMENT                                         This certification mark, as intended to be used by authorized persons, is intended to
                                                                certify that the services are being performed by professionals who have met
                                                                established standards of knowledge, experience and competence required to excel
                                                                in forensic accounting.



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                            ENT NUM

12/14/2010                CNPR          P         ALLOWED PRINCIPAL REGISTER - SOU ACCEPTED                                                 029

11/23/2010                SUPC           I        STATEMENT OF USE PROCESSING COMPLETE                                                      028

11/10/2010                 IUAF         S         USE AMENDMENT FILED                                                                       027

11/23/2010                 AITU         A         CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                  026

11/10/2010                 EISU          I        TEAS STATEMENT OF USE RECEIVED                                                            025

11/10/2010                ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         024

11/10/2010                REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     023

09/28/2010                NOAM          E         NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                                022

08/13/2010                TMBN          T         TTAB RELEASE CASE TO TRADEMARKS                                                           021

08/13/2010                 OP.T         T         OPPOSITION TERMINATED NO. 999999                                                          020

08/12/2010                 OP.D         T         OPPOSITION DISMISSED NO. 999999                                                           019

10/21/2008                ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         018

10/21/2008                REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     017

10/07/2008                 OP.I         T         OPPOSITION INSTITUTED NO. 999999                                                          016

10/07/2008                OPPF          T         OPPOSITION PAPERS RECEIVED AT TTAB                                                        015

10/07/2008                PUBO          A         PUBLISHED FOR OPPOSITION                                                                  014

09/17/2008                NPUB          O         NOTICE OF PUBLICATION                                                                     013

08/29/2008                PREV          O         LAW OFFICE PUBLICATION REVIEW COMPLETED                                                   012

08/29/2008                 ALIE         A         ASSIGNED TO LIE                                                                           011

08/20/2008                CNSA          P         APPROVED FOR PUB - PRINCIPAL REGISTER                                                     010
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 433 of 488 Pageid#:
                                          3966

08/19/2008                XAEC      I      EXAMINER'S AMENDMENT ENTERED                                      009

08/19/2008                GNEN      O      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                      008

08/19/2008                GNEA      O      EXAMINERS AMENDMENT E-MAILED                                      007

08/19/2008                CNEA      R      EXAMINERS AMENDMENT -WRITTEN                                      006

08/18/2008                GPRN      O      NOTIFICATION OF PRIORITY ACTION E-MAILED                          005

08/18/2008                GPRA      F      PRIORITY ACTION E-MAILED                                          004

08/18/2008                CPRA      R      PRIORITY ACTION WRITTEN                                           003

08/04/2008                DOCK      D      ASSIGNED TO EXAMINER                                              002

04/24/2008                NWAP      I      NEW APPLICATION ENTERED IN TRAM                                   001



                                 CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                David W. Sar

CORRESPONDENCE ADDRESS                                  David W. Sar
                                                        Brooks, Pierce, McLendon, Humphrey & Leo
                                                        P.O. Box 26000
                                                        Greensboro NC 27420

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION

PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    American Institute of Certified Public Accountants

ADDRESS                                                 1211 Avenue of the Americas
                                                        New York, NY 10036

ENTITY                                                  99-NON-PROFIT CORPORATION

CITIZENSHIP                                             D.C.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 434 of 488 Pageid#:
                                     3967
        Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 435 of 488 Pageid#:
                                             3968

                                                 Trademark Snap Shot ITU Unit Action
                                                       (Table presents the data on ITU Unit Action)


                                                                    OVERVIEW

SERIAL NUMBER                                  77453685                       FILING DATE                            04/21/2008

REG NUMBER                                      0000000                       REG DATE                                  N/A

REGISTER                                      PRINCIPAL                       MARK TYPE                         CERTIFICATION MARK

INTL REG #                                            N/A                     INTL REG DATE                             N/A

TM ATTORNEY                             CALLAGHAN, BRIAN P                    L.O. ASSIGNED                             108



                                                              PUB INFORMATION

RUN DATE                         11/24/2010

PUB DATE                         10/07/2008

STATUS                           748-STATEMENT OF USE - TO EXAMINER

STATUS DATE                      11/23/2010

LITERAL MARK ELEMENT             CFF



DATE ABANDONED                                        N/A                     DATE CANCELLED                            N/A

SECTION 2F                                            NO                      SECTION 2F IN PART                        NO

SECTION 8                                             NO                      SECTION 8 IN PART                         NO

SECTION 15                                            NO                      REPUB 12C                                 N/A

RENEWAL FILED                                         NO                      RENEWAL DATE                              N/A

DATE AMEND REG                                        N/A



                                                                  FILING BASIS

                 FILED BASIS                                       CURRENT BASIS                              AMENDED BASIS

1 (a)                          NO             1 (a)                                       NO          1 (a)                   NO

1 (b)                          YES            1 (b)                                      YES          1 (b)                   NO

44D                            NO             44D                                         NO          44D                     NO

44E                            NO             44E                                         NO          44E                     NO

66A                            NO             66A                                         NO

NO BASIS                       NO             NO BASIS                                    NO



                                                                   MARK DATA

STANDARD CHARACTER MARK                                                       YES

LITERAL MARK ELEMENT                                                          CFF

MARK DRAWING CODE                                                             4-STANDARD CHARACTER MARK

COLOR DRAWING FLAG                                                            NO



                                                 CURRENT OWNER INFORMATION

PARTY TYPE                                                                    20-OWNER AT PUBLICATION
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 436 of 488 Pageid#:
                                          3969

NAME                                                            American Institute of Certified Public Accountants

ADDRESS                                                         1211 Avenue of the Americas
                                                                New York, NY 10036

ENTITY                                                          99-NON-PROFIT CORPORATION

CITIZENSHIP                                                     D.C.



                                                 GOODS AND SERVICES

INTERNATIONAL CLASS                                             B

       DESCRIPTION TEXT                                         forensic accounting services




                                      GOODS AND SERVICES CLASSIFICATION

INTERNATIONAL     B          FIRST USE DATE   07/11/2008        FIRST USE IN          07/11/2008            CLASS STATUS          6-ACTIVE
CLASS                                                           COMMERCE
                                                                DATE



                                   MISCELLANEOUS INFORMATION/STATEMENTS

CHANGE IN REGISTRATION                                          NO

CERTIFICATION STATEMENT                                         This certification mark, as intended to be used by authorized persons, is intended to
                                                                certify that the services are being performed by professionals who have met
                                                                established standards of knowledge, experience and competence required to excel
                                                                in forensic accounting.



                                                PROSECUTION HISTORY

DATE                      ENT CD     ENT TYPE     DESCRIPTION                                                                            ENT NUM

11/23/2010                SUPC           I        STATEMENT OF USE PROCESSING COMPLETE                                                      028

11/10/2010                 IUAF         S         USE AMENDMENT FILED                                                                       027

11/23/2010                 AITU         A         CASE ASSIGNED TO INTENT TO USE PARALEGAL                                                  026

11/10/2010                 EISU          I        TEAS STATEMENT OF USE RECEIVED                                                            025

11/10/2010                ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         024

11/10/2010                REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     023

09/28/2010                NOAM          E         NOA E-MAILED - SOU REQUIRED FROM APPLICANT                                                022

08/13/2010                TMBN          T         TTAB RELEASE CASE TO TRADEMARKS                                                           021

08/13/2010                 OP.T         T         OPPOSITION TERMINATED NO. 999999                                                          020

08/12/2010                 OP.D         T         OPPOSITION DISMISSED NO. 999999                                                           019

10/21/2008                ARAA           I        ATTORNEY REVOKED AND/OR APPOINTED                                                         018

10/21/2008                REAP           I        TEAS REVOKE/APPOINT ATTORNEY RECEIVED                                                     017

10/07/2008                 OP.I         T         OPPOSITION INSTITUTED NO. 999999                                                          016

10/07/2008                OPPF          T         OPPOSITION PAPERS RECEIVED AT TTAB                                                        015

10/07/2008                PUBO          A         PUBLISHED FOR OPPOSITION                                                                  014

09/17/2008                NPUB          O         NOTICE OF PUBLICATION                                                                     013

08/29/2008                PREV          O         LAW OFFICE PUBLICATION REVIEW COMPLETED                                                   012

08/29/2008                 ALIE         A         ASSIGNED TO LIE                                                                           011

08/20/2008                CNSA          P         APPROVED FOR PUB - PRINCIPAL REGISTER                                                     010

08/19/2008                XAEC           I        EXAMINER'S AMENDMENT ENTERED                                                              009
     Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 437 of 488 Pageid#:
                                          3970

08/19/2008                GNEN      O      NOTIFICATION OF EXAMINERS AMENDMENT E-MAILED                      008

08/19/2008                GNEA      O      EXAMINERS AMENDMENT E-MAILED                                      007

08/19/2008                CNEA      R      EXAMINERS AMENDMENT -WRITTEN                                      006

08/18/2008                GPRN      O      NOTIFICATION OF PRIORITY ACTION E-MAILED                          005

08/18/2008                GPRA      F      PRIORITY ACTION E-MAILED                                          004

08/18/2008                CPRA      R      PRIORITY ACTION WRITTEN                                           003

08/04/2008                DOCK      D      ASSIGNED TO EXAMINER                                              002

04/24/2008                NWAP      I      NEW APPLICATION ENTERED IN TRAM                                   001



                                 CURRENT CORRESPONDENCE INFORMATION

ATTORNEY                                                David W. Sar

CORRESPONDENCE ADDRESS                                  David W. Sar
                                                        Brooks, Pierce, McLendon, Humphrey & Leo
                                                        P.O. Box 26000
                                                        Greensboro NC 27420

DOMESTIC REPRESENTATIVE                                 NONE



                                        PRIOR OWNER INFORMATION

PARTY TYPE                                              10-ORIGINAL APPLICANT

NAME                                                    American Institute of Certified Public Accountants

ADDRESS                                                 1211 Avenue of the Americas
                                                        New York, NY 10036

ENTITY                                                  99-NON-PROFIT CORPORATION

CITIZENSHIP                                             D.C.
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 438 of 488 Pageid#:
                                     3971
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 439 of 488 Pageid#:
                                     3972
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 440 of 488 Pageid#:
                                     3973
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 441 of 488 Pageid#:
                                     3974
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 442 of 488 Pageid#:
                                     3975
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 443 of 488 Pageid#:
                                     3976
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 444 of 488 Pageid#:
                                     3977
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 445 of 488 Pageid#:
                                     3978
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 446 of 488 Pageid#:
                                     3979
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 447 of 488 Pageid#:
                                     3980
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 448 of 488 Pageid#:
                                     3981
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 449 of 488 Pageid#:
                                     3982
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 450 of 488 Pageid#:
                                     3983
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 451 of 488 Pageid#:
                                     3984
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 452 of 488 Pageid#:
                                     3985
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 453 of 488 Pageid#:
                                     3986
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 454 of 488 Pageid#:
                                     3987
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 455 of 488 Pageid#:
                                     3988
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 456 of 488 Pageid#:
                                     3989
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 457 of 488 Pageid#:
                                     3990
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 458 of 488 Pageid#:
                                     3991
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 459 of 488 Pageid#:
                                     3992
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 460 of 488 Pageid#:
                                     3993
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 461 of 488 Pageid#:
                                     3994
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 462 of 488 Pageid#:
                                     3995
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 463 of 488 Pageid#:
                                     3996
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 464 of 488 Pageid#:
                                     3997
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 465 of 488 Pageid#:
                                     3998
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 466 of 488 Pageid#:
                                     3999
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 467 of 488 Pageid#:
                                     4000
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 468 of 488 Pageid#:
                                     4001
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 469 of 488 Pageid#:
                                     4002
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 470 of 488 Pageid#:
                                     4003
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 471 of 488 Pageid#:
                                     4004
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 472 of 488 Pageid#:
                                     4005
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 473 of 488 Pageid#:
                                     4006
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 474 of 488 Pageid#:
                                     4007
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 475 of 488 Pageid#:
                                     4008
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 476 of 488 Pageid#:
                                     4009
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 477 of 488 Pageid#:
                                     4010
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 478 of 488 Pageid#:
                                     4011
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 479 of 488 Pageid#:
                                     4012
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 480 of 488 Pageid#:
                                     4013
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 481 of 488 Pageid#:
                                     4014
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 482 of 488 Pageid#:
                                     4015
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 483 of 488 Pageid#:
                                     4016
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 484 of 488 Pageid#:
                                     4017
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 485 of 488 Pageid#:
                                     4018
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 486 of 488 Pageid#:
                                     4019
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 487 of 488 Pageid#:
                                     4020
Case 3:19-cv-00012-NKM-RSB Document 91-10 Filed 06/10/20 Page 488 of 488 Pageid#:
                                     4021
